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                         Exhibit 18
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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

__________________________________________

In re: Oil Spill by the Oil Rig                     )       MDL 2179
      “Deepwater Horizon” in the Gulf               )
      of Mexico, on April 20, 2010                  )       SECTION J
                                                    )
                                                    )
                                                    )       HONORABLE CARL J.
                                                    )       BARBIER
                                                    )
                                                    )
Applies to: All Cases                               )       MAGISTRATE JUDGE
                                                    )       SHUSHAN

__________________________________________


                                Declaration of Martin D. Smith


1.      I, Martin D. Smith, submit this declaration in support of BP Defendants’ Motion for Final
        Approval of Deepwater Horizon Economic and Property Damages Settlement Agreement
        As Amended On May 2, 2012. I am over the age of 18, and the opinions, statements, and
        conclusions expressed in this declaration are my own.

I.      Qualifications

2.      I am the Dan and Bunny Gabel Associate Professor of Environmental Economics with
        tenure at Duke University. My primary appointment at Duke is in the Division of
        Environmental Sciences and Policy within the Nicholas School of the Environment. I
        hold secondary appointments at Duke in the Department of Economics and in the
        Nicholas School’s Division of Marine Science and Conservation. I am Chair of the
        Nicholas School’s Masters of Environmental Management degree program in
        Environmental Economics and Policy. I am also Chair of the Nicholas School Faculty
        Council. I have a PhD in Agricultural and Resource Economics from the University of
        California, Davis and a BA in Public Policy from Stanford University.


                                                1
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3.      My primary areas of expertise are fisheries economics, seafood markets, coastal resource
        management, applied econometrics, and modeling of dynamical systems. I teach courses
        at Duke University in natural resource economics with an emphasis on fisheries and other
        marine and coastal resources. I have published scholarly articles about fisheries and
        seafood markets in leading journals that span environmental and resource economics,
        general interest economics, fisheries and marine science, and general interest science1.

4.      I have studied a diverse set of fisheries throughout North America and in other parts of
        the world, including fisheries in the Gulf of Mexico, North Carolina, California, Alaska,
        Chesapeake Bay and other parts of the U.S. Mid-Atlantic region, Norway, and Indonesia,
        as well as fisheries for highly migratory species that occupy multiple exclusive economic
        zones and international waters. I have analyzed fisheries data across many scales of
        operation, including small-scale artisanal fishing, small-scale owner operators (captain
        and one or no crew), medium size operations (captain and several crew), and industrial
        factory trawlers. My research on fisheries has spanned a variety of fishing methods,
        including dive fishing, trawling, handline, bottom longline, purse seine, and pot and trap
        fishing. I have also analyzed global country-level data on seafood production,
        consumption, and trade.

5.      I am the Editor of the journal Marine Resource Economics, which is the leading journal
        in the economics sub-field that focuses on economics of fisheries, aquaculture, seafood
        markets, and other marine and coastal resources. I am a past Co-Editor and current
        member of the Editorial Board of the Journal of Environmental Economics and
        Management, which is the leading journal in the broader field of environmental and
        resource economics. I have served as an ad hoc reviewer for over 35 different peer-
        reviewed academic journals as well as a number of academic presses and grant agencies.
        I am also a member of the Scientific and Statistical Committee of the Mid-Atlantic
        Fishery Management Council, which is a committee that advises the Council on fishery
        management decisions and sets allowable biological catches for managed species

1
 Representative journals include: Journal of Environmental Economics and Management, Environmental and
Resource Economics, Land Economics, American Journal of Agricultural Economics, Ecological Economics,
Marine Resource Economics, Review of Economics and Statistics, Journal of Risk and Uncertainty, Canadian
Journal of Fisheries and Aquatic Sciences, Bulletin of Marine Science, Science, PLoS ONE, and Proceedings of the
National Academy of Sciences of the United States of America.

                                                       2
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         according to the Magnuson-Stevens Fishery Conservation and Management
         Reauthorization Act of 2006.

6.       I have received national and international professional honors and awards for my work
         including an Aldo Leopold Leadership Fellowship, the Agricultural and Applied
         Economics Association’s Quality of Research Discovery (twice), and the Dr. S.Y. Hong
         Award for Outstanding Article in Marine Resource Economics. My research has been
         funded by the National Oceanic and Atmospheric Administration (“NOAA”), the
         National Science Foundation, and the National Center for Ecological Analysis and
         Synthesis. I have consulted for the National Marine Fisheries Service and for the World
         Trade Organization on fisheries economics and the seafood trade.

7.       A complete list of my appointments, publications, honors and awards, teaching, student
         advising, service, and research funding sources is on my curriculum vitae in Appendix A.

II.      Assignment

8.       I have been asked by Counsel for the Defendants to assess whether the Seafood
         Compensation Program is “fair, reasonable, and adequate.”2 Specifically, I have been
         asked to assess whether the overall settlement amount in the Seafood Compensation
         Program (“SCP”) is fair and reasonable. I have also been asked to assess the
         reasonableness of the overall approach to compensation, and to assess whether the
         procedures for individual claimant types are reasonable and are likely to result in
         compensation amounts that are fair.

III.     Introduction

9.       Fisheries are complex because they involve interactions among dynamic and variable
         natural systems, humans who catch fish, regional, national, and international markets, and
         a suite of regulatory institutions. This complexity makes assessing the impacts of an
         event like the Deepwater Horizon incident challenging.

10.      A fair and reasonable settlement agreement should:

2
  I understand “fair, reasonable, and adequate” to have a specific meaning from a legal standpoint. I use these terms
in this declaration as an economist, not as a lawyer.

                                                          3
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           i.   Provide adequate compensation to account for the inherent complexities described
                above.

          ii.   Provide a framework that will be likely to lead to adequate compensation for each
                of the participants covered by the SCP.

         iii.   Be comprehensive in its coverage of potential claimants.

         iv.    Address the diversity of claimants, but also be sufficiently simple to be
                transparent and implemented in a practical manner.

          v.    And, recognize that there are practical limits to tailoring an agreement like this to
                all of the individual species that are fished in the Gulf of Mexico.

11.     It is my opinion that the SCP, which I have reviewed in detail, meets or exceeds all of
        these criteria and that the proposed settlement is fair, reasonable, and adequate.

IV.     Overall Compensation Level of $2.3 Billion Is Fair and Reasonable

12.     Before turning to the specifics of the SCP, it is important to consider the context of the
        overall settlement amount of $2.3 billion.3 As can be seen below in Figure 1, this value is
        very large relative to the revenue generated by the Gulf fisheries included in the SCP and
        relative to available measures of total revenue or the revenue decline experienced by
        these fisheries in 2010.4 Specifically, the SCP amount is approximately five times the
        2007 – 2009 average annual revenue of fisheries included in the SCP and approximately
        42 times the difference between 2010 revenues and 2007 – 2009 average annual revenues
        of fisheries included in the SCP.




3
  “Seafood Compensation Program,” Exhibit 10 of Deepwater Horizon Economic and Property Damages Settlement
Agreement as Amended on May 2, 2012, p. 3.
4
  Exhibit 1 provides 2010 revenue reduction from average annual revenues for 2007 through 2009 for shrimp,
oysters, blue crabs, finfish, and all other Gulf species.

                                                    4
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                                                                                    Figure 1


                        Average 2007 - 2009 Revenue and Difference between 2010 Revenues and 2007 - 2009
                                   Average Annual Revenues for Fisheries Included in the SCP,
                                                   Compared to SCP Amount
               $2,500
                                                                                                                                                   $2,300
                          SCP Amount is:
                             • 5 times Avg. 2007-2009 Revenue
               $2,000        • 42 times Difference between 2010 Revenues and
                          ttttt2007 - 2009 Avg. Annual Revenues

               $1,500
US$ Millions




               $1,000




                                          $476
                $500



                                                                                                $55
                  $0
                               Avg. 2007 - 2009 Revenue                  Difference between 2010 Revenues and 2007 –                             SCP Amount
                                                                                  2009 Avg. Annual Revenues
        Note:
        "Difference between 2010 Revenues and 2007 - 2009 Avg. Annual Revenues" based on 2010 revenue compared to average 2007 - 2009 revenue.

        Sources:
        [a] NOAA ALS county-level data.
        [b] "Seafood Compensation Program," Exhibit 10 of Deepwater Horizon Economic and Property Damages Settlement Agreement as Amended on May 2, 2012, p. 3.




13.                     Viewed another way, the $2.3 billion SCP amount represents a large fraction of the
                        present value of the future landings from all Gulf of Mexico fisheries included in the SCP
                        in the class geographies. Suppose the average total annual revenue for the class
                        geographies in 2007-2009 of $476 million represents expectations of revenue for a
                        typical year for Gulf of Mexico fisheries. By assuming that these revenues continue in
                        perpetuity and applying an appropriate “real discount rate,” one can estimate the present
                        value of these future revenues. A present value accounts for the time value of money and
                        the fact that money that one could have today is more valuable than the same amount of
                        money received in the future (due to the ability to earn a return on money held today).
                        Discount rates are higher for riskier industries since the value today of a promise of a
                        future payment is worth less than the value of a promise of a more certain future
                        payment. The “real discount rate” nets out the impact of inflation in present value


                                                                                           5
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         calculations. To calculate the present value of a perpetual constant revenue stream, one
         divides the value of the revenue stream in year one by the discount rate. As described in
         the paragraphs below, using this technique, I estimate that the $2.3 billion SCP amount is
         equivalent to compensating for between 22 percent and 72 percent of the value of all
         future revenues for fisheries covered in the SCP, depending on assumptions about the
         discount rate (Exhibit 2).

14.      Using the United States Office of Management and Budget’s recommended real discount
         rate of seven percent for benefit-cost analysis,5 the $2.3 billion settlement amount is 34
         percent of the present value of these average annual revenues for Gulf of Mexico
         fisheries included in the SCP (Exhibit 2). In other words, the settlement amount is
         equivalent to compensating for a 34 percent permanent loss in all future revenue for all
         fisheries in the class geographies.6

15.      The above analysis likely understates the value of the settlement amount relative to
         presumed spill-related losses incurred by participants in two ways. First, the analysis
         above does not deduct from revenue the appropriate costs of fishing. Yet, commercial
         fishing involves costs, including costs for capital equipment and operating costs. Some of
         these costs would not be incurred if fishing activity were permanently reduced in
         response to lower abundance of fish; these include costs for fuel, bait, ice, and other
         supplies such as food for the captain and crew. At a minimum, one would have to deduct
         these kinds of costs, which do not represent losses, from gross revenues to arrive at a fair
         basis for compensation. Doing so would increase the percentages in Exhibit 2.7


5
  Benefit-cost analysis is the economic assessment of benefits and costs of investments or policy changes. To
compare dollar amounts in different time periods, benefit-cost analysis computes everything in present value terms.
(Office of Management and Budget, Circular No. A-94 Revised, available at,
http://www.whitehouse.gov/omb/circulars_a094.)
6
  Even at a lower real discount rate of 4.5 percent, the settlement amount still constitutes a large percentage of the
perpetuity value of average fishing revenues (Exhibit 2).
7
  Using the most conservative cost factors for each species from the SCP as a proxy for actual costs, and deducting
these from the average total annual revenues for 2007-2009, produces an estimate of net revenues of $320 million
for fisheries covered in the SCP. These net revenues provide a rough estimate of the funds available in any given
year to compensate owners, captains, crew and other SCP claimants. Using the same range of real discount rates as
above, the settlement agreement amount of $2.3 billion is equivalent to compensating for between 32 and 107
percent of the value of all future net revenues for fisheries covered in the SCP. (“Seafood Compensation Program,”
Exhibit 10 of Deepwater Horizon Economic and Property Damages Settlement Agreement as Amended on May 2,
2012, pp. 22, 35, 41, 59, and 62; and, NOAA ALS county-level data.)

                                                           6
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16.      Second, the real discount rate of seven percent, which is based on long-run average
         returns in the private sector in the United States, is likely to be below the economically
         appropriate rate for fishing industries and thus is likely to understate the value of the
         settlement relative to future fishery revenue. Commercial fishing involves considerable
         risk, much of which stems from variability in the abundance of marine living resources.
         Resource abundance may fluctuate in response to changes in marine food webs or in
         response to environmental stressors that vary in intensity over time. Some risk in fishing
         reflects the inability of fishery management institutions to prevent overfishing or
         otherwise control fish harvests with precision. Prices of fishing supplies and fuel as well
         as the prices of fish themselves are also sources of risk. For example, fuel, which is an
         important component of harvest costs for much of the seafood industry, has volatile
         prices. As in many commodity markets, seafood prices themselves often display
         significant volatility. As a heavily regulated industry, fishing is also subject to substantial
         policy risk.8 For all of these reasons, an appropriate real discount rate might be
         considerably higher than the seven percent suggested by the United States Office of
         Management and Budget.

17.      Considering higher real discount rates ranging from 9.5 to 14.9 percent,9 the settlement
         agreement amount of $2.3 billion is an even larger percentage of the present value of total
         landing revenues in the class geographies, reflecting between 46 to 72 percent (Exhibit
         2). Again, these percentages would be higher still if costs were considered. For the
         separate seafood categories that are broken out in the settlement agreement—shrimp,
         oyster, blue crab, finfish, and other—no category experienced declines in revenue in
         2010 that were as large as 46 percent, compared to a baseline average across 2007-2009
         (Exhibit 3).




8
  For example, see: Smith, Martin and James Wilen, “Heterogeneous and Correlated Risk Preferences in
Commercial Fishermen: The Perfect Storm Dilemma,” The Journal of Risk and Uncertainty, Vol. 31(1), 2005, pp.
53-71; and, Sanchirico, James, Martin D. Smith, and Douglas Lipton, “An Empirical Approach to Ecosystem-based
Fishery Management,” Ecological Economics, Vol. 64(3), 2008, pp. 586-596.
9
  As explained in more detail in Appendix B, the largest discount rate of 14.9 percent is similar in magnitude to the
implied real discount rate from the red snapper IFQ program in 2010.

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18.     Considering the scale of the fisheries included in the SCP, the inherent risk in fishing,
        and the performance of these fisheries in 2010, it is my opinion that the $2.3 billion is
        clearly sufficient compensation to meet a standard of fair, reasonable, and adequate.

V.      General Approach to Compensation Is Fair, Reasonable and Transparent

19.     The general approach to compensation for vessel owners and captains that is shared
        across claimant fisheries follows six steps.

           i.   Claimants establish their baseline revenue for the years prior to the Deepwater
                Horizon incident.10

          ii.   The baseline revenue is inflated by a price adjustment factor to arrive at adjusted
                revenue. This adjusted revenue accounts for price increases that might have
                occurred in the absence of the incident.11 An additional upward adjustment is
                made for shrimp to reflect the possibility of undocumented sales of shrimp.12

         iii.   Non-labor variable costs are deducted from the adjusted revenues to arrive at net
                revenues.13 Non-labor variable costs include costs of fuel, ice, and other supplies
                for fishing trips. It is appropriate to net out these costs because they would not
                have been incurred as a result of a downturn in fishing activity that stemmed from
                the oil spill. In the absence of the spill (the “but-for” world) these costs would
                have been incurred. Variable costs exclude labor costs because that labor is
                compensated from the $2.3 billion SCP. The calculation also excludes fixed and
                variable costs associated with vessel ownership, debt service, and maintenance.
                Excluding avoided maintenance favors claimants; in the but-for world some
                additional maintenance costs would have been incurred.




10
   “Seafood Compensation Program,” Exhibit 10 of Deepwater Horizon Economic and Property Damages
Settlement Agreement as Amended on May 2, 2012, pp. 7, 28, 43, and 55.
11
   “Seafood Compensation Program,” Exhibit 10 of Deepwater Horizon Economic and Property Damages
Settlement Agreement as Amended on May 2, 2012, pp. 21, 22, 30, 59, and 61.
12
   “Seafood Compensation Program,” Exhibit 10 of Deepwater Horizon Economic and Property Damages
Settlement Agreement as Amended on May 2, 2012, p. 21.
13
   “Seafood Compensation Program,” Exhibit 10 of Deepwater Horizon Economic and Property Damages
Settlement Agreement as Amended on May 2, 2012, pp. 22, 35, 47, 59, and 62.

                                                    8
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          iv.      The base compensation is calculated by multiplying the net revenue by the loss
                   percentage. Loss percentages are fishery-specific and reflect the downturns in the
                   volume of catch experienced in the respective fisheries in 2010 compared to a
                   baseline period (2007-2009 for oysters, and for other fisheries, a choice among
                   2007-2009, 2008-2009, or just 2009).14,15 Allowing potential claimants to average
                   multiple years in the baseline acknowledges the inter-annual variability in fishing
                   and provides flexibility for claimants to choose a more favorable window.
                   Beginning the baseline window at 2007 recognizes that a claimant’s outcomes in
                   the more recent past is likely to be a better predictor of 2010 activity than in more
                   distant years, while still providing flexibility to claimants.

           v.      The base compensation for vessel owners and captains is calculated by including
                   an additional factor that reflects the relevant share of vessel income that is earned
                   by each party.16

          vi.      The base compensation for vessel owners and captains is then multiplied by the
                   respective Risk Transfer Premium (“RTP”) and the result is added to the base
                   compensation to arrive at final compensation.17

                a. Base Compensation Appropriateness

20.      The approach for computing base compensation for vessel owners and captains is fair and
         reasonable.18 It reflects reasonable and transparent assumptions for computing the
         presumed one-time losses associated with the Deepwater Horizon incident that are
         grounded in basic economic reasoning. For nearly all cases in which I could compare
         assumptions to some underlying data, the assumptions used to compute base

14
   It is my understanding that oysters have a multi-year cycle to reach harvestable size. As such, a multi-year
baseline period is more appropriate for oysters than any single year. (For example, see: VanderKooy, Steve, and
Oyster Technical Task Force, “The Oyster Fishery of the Gulf of Mexico, United States: A Fisheries Management
Plan. 2012 revision,” Gulf States Marine Fisheries Commission, March 2012, p. 3-13.)
15
   “Seafood Compensation Program,” Exhibit 10 of Deepwater Horizon Economic and Property Damages
Settlement Agreement as Amended on May 2, 2012, 7, 23, 28, 30, 43, 47, 55, 59, and 62.
16
   “Seafood Compensation Program,” Exhibit 10 of Deepwater Horizon Economic and Property Damages
Settlement Agreement as Amended on May 2, 2012, pp. 23, 30, 35, 48, 59, and 62.
17
   “Seafood Compensation Program,” Exhibit 10 of Deepwater Horizon Economic and Property Damages
Settlement Agreement as Amended on May 2, 2012, pp. 24, 30, 48, 49, 60, 61, and 63.
18
   Note: I discuss the approach to crew compensation, as well as the approach to other fishery specific claimants in
subsequent sections.

                                                          9
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         compensation favor potential claimants. In a few cases, these assumptions appear neutral.
         Overall, this indicates that initial base compensation paid to claimants is likely to exceed
         2010 losses.

21.      Using these favorable assumptions ensures that the risk of any individual claimant’s
         specific compensation being insufficient is minimal. As illustrated in Exhibit 4, this
         reduction in risk is enhanced because of compounding. Using a 45-74 foot shrimping
         vessel as an example, Exhibit 4 demonstrates how the favorable assumptions in price
         adjustment (the assumed increase in price that claimants would have enjoyed on their lost
         catch), costs (the variable costs avoided when claimants were not fishing) and loss
         percentage (the estimate of the reduction in volume realized by claimants due to the
         Deepwater Horizon incident) compound to create an approximate 87 percent over-
         estimate of expected losses. While actual costs will vary from claimant to claimant, this
         cushion should be sufficient to minimize the risk that any individual receives base
         compensation that is lower than their actual losses. I examine compensation plans in
         more detail for individual fisheries in Section VI.

22.      An additional example of how these assumptions minimize the risk that an individual
         claimant’s base compensation is less than his or her 2010 loss is the ability of potential
         claimants to choose the baseline period. For all fisheries in the SCP except oysters,
         claimants can choose to use landings in 2009, an average of 2008 and 2009, or an average
         of 2007 through 2009.19 Given the volatility of commercial fishing, an average across
         multiple years would be the most reasonable, neutral assumption. By incorporating some
         choice in the baseline period, the SCP offers flexibility by allowing some claimants to
         exclude a bad year (or two), or to include a single good year if the more favorable
         circumstances happened to be 2009. If potential claimants did well in 2008 and 2009, or
         did poorly in 2007, they can use the average of 2008 and 2009 for their baseline.
         Otherwise, claimants would default to the more neutral assumption of averaging over
         three years. This clearly reduces the risk that any claimant is under-compensated.




19
  “Seafood Compensation Program,” Exhibit 10 of Deepwater Horizon Economic and Property Damages
Settlement Agreement as Amended on May 2, 2012, pp. 7, 28, 43, and 55.

                                                   10
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23.      The overall approach to estimated base compensation strikes a balance between
         simplicity and acknowledging important idiosyncratic features of relevant fisheries.
         Standardized formulas are used that are easy to implement and transparent. The SCP
         delineates fisheries with different biological characteristics, methods of fishing, and end
         product markets. It is my opinion that the SCP incorporates enough unique features of
         fisheries to be fair and reasonable from an economic perspective.

             b. Final Compensation Appropriateness

24.      An important feature of the SCP is the application of Risk Transfer Premiums (“RTPs”)
         that take loss estimates for 2010 and adds to these a multiple of the loss estimates to
         arrive at a final compensation level. RTPs essentially build into the SCP significant
         cushion to cover uncertain future harms and address the uncertainties about the actual and
         but-for future of the Gulf of Mexico fisheries included in the SCP.20 Inflating the base
         compensation by adding an RTP times the base compensation is a fair and reasonable
         approach to accounting for the possibility of these future harms.

             c. General Features of the SCP Appropriateness

25.      The SCP provides comprehensive coverage of potential claimants in fisheries included in
         the SCP.21 The primary stakeholders with direct involvement in seafood harvesting are
         vessel owners, vessel captains, and crew. The SCP provides a framework for all of these
         stakeholders to receive fair and adequate compensation. The compensation mechanisms
         qualitatively reflect the relative stakes that these stakeholders have in their respective
         fisheries. The SCP also compensates other important stakeholders that reflect
         particularities of the fisheries. In the oyster fishery, for example, there are some
         individuals with leasehold interests who may not be involved directly in harvesting. The


20
   It is my understanding that “RTP payments are meant to compensate class members for pre-judgment interest, the
risk of oil returning, consequential damages, inconvenience, aggravation, the risk of future loss, the lost value of
money, compensation for emotional distress, liquidation of legal disputes about punitive damages, and other
factors.” (The Plaintiffs’ Steering Committee’s and BP Defendants’ Joint Motion for (1) Preliminary Approval of
Class Action Settlement, (2) Scheduling a Fairness Hearing, (3) Approving and Issuing Proposed Class Action
Settlement Notice, and (4) BP’s Motion for Adjourning the Limitation and Liability Trial, p. 14.) Notwithstanding
the various purposes of the RTPs, I believe they provide an adequate cushion for future losses.
21
   “Seafood Distribution Chain Definitions,” Exhibit 3 of Deepwater Horizon Economic and Property Damages
Settlement Agreement as Amended on May 2, 2012, p. 2.

                                                         11
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         SCP includes a mechanism for compensating these stakeholders.22 Similarly, there can be
         owners of Individual Fishing Quotas (“IFQs”) who neither engage in fishing nor own
         fishing vessels. The SCP also incorporates a mechanism for compensating these
         stakeholders.23

26.      The documentation requirements for vessel owners and captains are reasonable. For most
         federally managed fisheries in the United States and for many state managed fisheries,
         trip tickets are standard documentation that vessel owners and/or captains fill out. Thus,
         providing trip tickets as documentation for landings is not onerous to establish revenues
         for vessel owners and captains. Since there is some variation in trip ticket programs
         across fisheries and states, the SCP provides sufficient flexibility for owner and captain
         stakeholders to establish claims through other means, such as tax returns, when landings
         tickets are unavailable or incomplete.24

27.      Documentation requirements for crew claims are reasonable and account for the non-
         documented nature of some crew employment. Crew can document income from fishing
         through standard means such as W-2 and 1099 forms.25 The SCP allows for alternative
         means of documenting crew income when these standard forms are unavailable.26

28.      Captains and vessel owners who work across multiple fisheries that are covered in the
         SCP are able to submit claims in each category in which they fish.27 This feature of the
         SCP is fair and accounts for some of the diverse livelihood strategies that Gulf fishermen
         may have.




22
   “Seafood Compensation Program,” Exhibit 10 of Deepwater Horizon Economic and Property Damages
Settlement Agreement as Amended on May 2, 2012, p. 28.
23
   “Seafood Compensation Program,” Exhibit 10 of Deepwater Horizon Economic and Property Damages
Settlement Agreement as Amended on May 2, 2012, p. 49.
24
   “Seafood Compensation Program,” Exhibit 10 of Deepwater Horizon Economic and Property Damages
Settlement Agreement as Amended on May 2, 2012, pp. 18, 19, 29, 31, 32, 45, 46, 56-58, and 61.
25
   “Seafood Compensation Program,” Exhibit 10 of Deepwater Horizon Economic and Property Damages
Settlement Agreement as Amended on May 2, 2012, pp. 65-83.
26
   “Seafood Compensation Program,” Exhibit 10 of Deepwater Horizon Economic and Property Damages
Settlement Agreement as Amended on May 2, 2012, pp. 65-83.
27
   “Seafood Compensation Program,” Exhibit 10 of Deepwater Horizon Economic and Property Damages
Settlement Agreement as Amended on May 2, 2012, p. 2.

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VI.      Specific Approaches to Compensation by Fishery Are Fair, Reasonable, and
         Adequate

             a. Shrimp

29.      The Gulf of Mexico shrimp fishery has experienced declines in recent decades. Academic
         research attributes these declines to a combination of factors, including rising costs of
         fuel, rising costs of regulatory compliance, and downward pressure on prices due to
         competition from imports. Fuel costs are particularly important for shrimping because the
         dominant harvest technology is the shrimp trawl, a method of fishing that drags nets
         along the ocean floor sometimes over long distances and periods of time. This is
         illustrated in Exhibit 5, which shows that fuel costs make up a significant portion of non-
         labor variable costs. Regulatory costs, such as the requirement that shrimp trawl gear be
         outfitted with a turtle excluder device, have also contributed to rising costs.28

30.      While costs have risen, domestic shrimp real prices have generally declined over time as
         imports have increased.29 Imported shrimp include shrimp harvested from other fisheries
         around the world and a large and growing farmed shrimp (aquaculture) industry. Shrimp
         is the most widely traded seafood globally. It is also the most commonly consumed
         seafood type in the United States, but all domestic United States shrimp fisheries30
         combined only constitute about 16 percent of the U.S. market,31 with the rest coming
         from imports.32


28
   Asche, Frank, Bennear, Lori S., Oglend, Atle, and Martin D. Smith, 2012, “U.S. Shrimp Market Integration,”
Marine Resource Economics, Vol. 27(2), pp. 181-192; Keithly, Walter R. and Pawan Poudel, 2008, “The Southeast
U.S. Shrimp Industry: Issues Related to Trade and Antidumping Duties,” Marine Resource Economics, Vol. 23, pp.
459-483; and, Mukherjee. Zinnia and Kathleen Segerson, 2011, “Turtle Excluder Device Regulation and Shrimp
Harvest: The Role of Behavioral and Market Responses,” Marine Resource Economics, Vol. 26, pp. 173-189.
29
   Asche, Frank, Bennear, Lori S., Oglend, Atle, and Martin D. Smith, 2012, “U.S. Shrimp Market Integration,”
Marine Resource Economics, Vol. 27(2), pp. 181-192.
30
   Note that while the Gulf of Mexico is by far the largest U.S. shrimp fishery, it is not the only U.S. shrimp fishery.
(NOAA Fishwatch, U.S. Seafood Facts, “White Shrimp,” available at
http://www.fishwatch.gov/seafood_profiles/species/shrimp/species_pages/white_shrimp.htm; and, NOAA
Fishwatch, U.S. Seafood Facts, “Brown Shrimp,” available at
http://www.fishwatch.gov/seafood_profiles/species/shrimp/species_pages/brown_shrimp.htm; and, NOAA
Fishwatch, U.S. Seafood Facts, “Pink Shrimp,” available at
http://www.fishwatch.gov/seafood_profiles/species/shrimp/species_pages/pink_shrimp.htm.)
31
   In 2010, the U.S. produced 16 percent of its total consumption. Total U.S. shrimp landings for 2010 were 258
million pounds U.S. exports were 17 million pounds, and total imports were 1,236 million pounds. (National
Oceanic and Atmospheric Administration, available at

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31.     Another factor that is the subject of ongoing research is whether the so-called Dead Zone
        (a large area of seasonal hypoxia that stretches from the mouth of the Mississippi toward
        Texas) has contributed to declines in shrimp size and/or abundance. Research on the
        shrimp fishery in North Carolina suggests that hypoxia leads to economic losses for the
        fishery.33 The Dead Zone pre-dates the Deepwater Horizon incident. All of these factors
        have made it difficult for participants in the shrimp fishery to compete in the global
        marketplace, but these factors are all unrelated to the Deepwater Horizon incident.

32.     The declines in the shrimp fishery suggest that extending the baseline period for revenues
        further back in time before 2007 could yield results that are not representative of the
        catch expected in 2010 in the absence of the spill. Extending the benchmark period in this
        way could incorporate information from a period when exogenous market conditions
        were more favorable than they were in 2010, and thus may provide a less reliable
        benchmark for estimating a claimant’s presumed “but-for” catch in 2010.

33.     Additional catch factors escalate benchmark shrimp revenues. These factors are designed
        to account for unrecorded landings.34 All shrimp landed should be recorded on trip
        tickets, but the catch factors acknowledge that some of these landings that are used for
        direct sales at roadside stands may not have been recorded. Thus, incorporating additional
        catch factors is a fair and reasonable assumption but also one that errs on the side of
        favoring potential claimants.




http://www.st.nmfs.noaa.gov/st1/trade/cumulative_data/TradeDataProduct.html; and, NOAA ALS county-level
data.)
32
   Mukherjee. Zinnia and Kathleen Segerson, “Turtle Excluder Device Regulation and Shrimp Harvest: The Role of
Behavioral and Market Responses,” Marine Resource Economics, Vol. 26, pp. 173-189; and, Asche, Frank,
Bennear, Lori S., Oglend, Atle, and Martin D. Smith, 2012, “U.S. Shrimp Market Integration,” Marine Resource
Economics, Vol. 27(2), 2011, pp. 181-192.
33
   Huang, Ling, Smith, Martin D., and J. Kevin Craig, “Quantifying the Economic Effects of Hypoxia on a Fishery
for Brown Shrimp Farfantepenaeus aztecus,” Marine and Coastal Fisheries: Dynamics, Management, and
Ecosystem Science, Vol. 2, 2010, pp. 232-248; and, Huang, Ling, Nichols, Lauren A.B., Craig, J. Kevin, and Martin
D. Smith, “Measuring Welfare Losses from Hypoxia: The Case of North Carolina Brown Shrimp,” Marine
Resource Economics, Vol. 27, 2011, pp. 1, 3-23.
34
   Miller, Alexander and Jack Isaacs, “An Economic Survey of the Gulf of Mexico Inshore Shrimp Fishery:
Implementation and Descriptive Results for 2008,” Gulf States Marine Fisheries Commission, Sep. 2011, p. 46.

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34.      Baseline revenues are increased by 20 percent to account for increases in shrimp prices.35
         Shrimp prices overall increased in 2010 relative to the baseline period (Exhibit 3). It is
         possible that these price increases would have happened anyway in the absence of the
         Deepwater Horizon incident. In fact, my own research on shrimp market integration
         suggests this outcome to be likely even with a significant supply disruption in the Gulf
         shrimp fishery.36 However, it is also possible that some portion of price increases were
         the result of the incident producing a large enough supply shift that was not immediately
         compensated by increased imports. In fact, shrimp imports only increased by
         approximately four million pounds in 2010 compared to the 2007-2009 average,37
         roughly an order of magnitude smaller than the decrease in domestic shrimp landings in
         2010 compared to the baseline period (Exhibit 3). Inflating shrimp revenue by 20 percent
         is therefore an assumption that favors individual claimants.

35.      The shrimp cost percentages are used in the compensation calculation to adjust for costs
         not incurred by shrimpers when they do not fish. These cost percentages, which are
         broken out by vessel size and type to reflect differing cost structures of these vessels, are
         reasonable (Exhibit 6). Publicly available surveys of Gulf shrimp permit holders have
         only rough breakdowns of vessel by size (less than 50 feet, between 50 and 74 feet, and
         between 75 and 100 feet). The SCP allows for the inclusion of six shrimp vessel classes,
         which I compare to the broader categories provided in the publicly available surveys. The
         four larger vessel sizes have cost percentages that are below cost estimates based on the
         NOAA surveys of the Gulf of Mexico shrimp industry (Exhibit 6). For these four
         percentages, the cost assumptions range from favorable to very favorable to individual
         claimants. For the two cost percentages pertaining to vessels under 50 feet, the cost
         percentages are slightly above but close to both the NOAA and Gulf States survey-based
         cost estimates. In my opinion, this number is fair and reasonable in light of the many

35
   “Seafood Compensation Program,” Exhibit 10 of Deepwater Horizon Economic and Property Damages
Settlement Agreement as Amended on May 2, 2012, p. 22.
36
   Asche, Frank, Bennear, Lori S., Oglend, Atle, and Martin D. Smith, “U.S. Shrimp Market Integration,” Marine
Resource Economics, Vol. 27(2), 2012, pp. 181-192.
37
   U.S. shrimp imports were equal to 1,236.4 million pounds in 2010, 1,217.4 million pounds in 2009, 1,248.9
million pounds in 2008, and 1,231.8 million pounds in 2007, with a 2007 through 2009 average of 1,232.7 million
pounds. (National Marine Fisheries Service Fisheries Statistics and Economics Division, National Oceanic
and Atmospheric Administration, available at
http://www.st.nmfs.noaa.gov/st1/trade/cumulative_data/TradeDataProduct.html.)

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         other assumptions that increase the compensation amount embedded into the shrimp
         compensation portion of the SCP. These cost percentages are generally favorable to
         individual claimants.

36.      The loss percentage is used in the compensation calculation to calculate the proportion of
         projected annual revenues presumed lost as a result of the Deepwater Horizon incident.
         These loss percentages for shrimp are also fair and reasonable. Comparing the average
         total landings in 2007-2009 to the average landings in 2010, there was an approximately
         23 percent decline in the 2010 catch (Exhibit 3). This figure is below the loss percentage
         of 35 percent in the SCP.38 The difference in the numbers favors individual claimants.
         Figures on shrimp landings from 2011 and the first part of 2012 suggest that the shrimp
         landings have rebounded (Exhibit 7). This figure also illustrates the riskiness in general
         of the shrimp fishery, showing a high degree of inter-annual variability. Given this
         variability, it is essential to interpret the landings data with caution. Nevertheless, there
         does not appear to be evidence of a prolonged effect on shrimp landings from the oil spill
         in the data subsequent to 2010, and it is my opinion that a loss percentage of 35 percent is
         reasonable and favors potential claimants.

37.      The shrimp compensation portion of the SCP incorporates an option value for potential
         claimants to choose expedited compensation or the historic revenue method.39 This
         approach is practical in that the expedited approach can facilitate processing the large
         number of claims expected from the shrimp fishery, owing to the fact that there are a
         large number of participants.40 The choice is also fair and reasonable in that it allows
         potential claimants to benefit from whichever compensation scheme is more generous to
         them. The historic revenue method is already a fair approach in my opinion, so the option
         to choose expedited compensation is even more generous to potential claimants. I did not



38
   “Seafood Compensation Program,” Exhibit 10 of Deepwater Horizon Economic and Property Damages
Settlement Agreement as Amended on May 2, 2012, p. 22.
39
   “Seafood Compensation Program,” Exhibit 10 of Deepwater Horizon Economic and Property Damages
Settlement Agreement as Amended on May 2, 2012, pp. 8-24.
40
   There were an estimated 4,121 active shrimping vessels and 3,765 shrimp harvesters in 2008. 2,896 vessels were
“Inshore” vessels without a Federal Permit and 1,225 were “Offshore” vessels with a Federal Permit. (Miller,
Alexander and Jack Isaacs, “An Economic Survey of the Gulf of Mexico Inshore Shrimp Fishery: Implementation
and Descriptive Results for 2008,” Gulf States Marine Fisheries Commission, September 2011, pp. 2 and 8.)

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         assess the specific dollar amounts of the expedited process and understand that the claims
         administrator will select the approach most favorable to each individual plaintiff.41

38.      Vessel owner, and crew and captain shares appear to be reasonable in light of data on the
         labor costs in the shrimp fishery (Exhibit 5). The allocation of captain and crew shares,
         while not available in publicly available surveys, is covered through the options provided
         to captains and crew to demonstrate gross revenues (for example, captains can use tax
         returns in lieu of trip tickets if the share of revenue is less favorable).42

39.      The RTPs for shrimp are large.43 Specifically, owners will receive 9.25 times their
         estimated lost margin and captains will receive 8.25 their estimated lost margin. In
         summary, it is my opinion that the shrimp component of the SCP is fair, reasonable, and
         adequate, and likely to over-compensate individual claimants.

             b. Oyster

40.      The oyster compensation portion of the SCP incorporates a number of unique and
         important features of the oyster fishery. It acknowledges that there is a mixture of public
         and private oyster grounds, and that there are different cost structures for harvesting
         oysters from each.44 It also separates harvest losses from compensation for oyster
         leaseholds,45 and allows oyster leasehold owners to receive two forms of compensation:
         one for expected losses to their oyster grounds that may require capital expenditures for
         them to be whole and one for expected losses from harvest revenues.46




41
   Deepwater Horizon Economic and Property Damages Settlement Agreement As Amended on May 2, 2012,
Section 4.3.8, p. 19.
42
   “Seafood Compensation Program,” Exhibit 10 of Deepwater Horizon Economic and Property Damages
Settlement Agreement as Amended on May 2, 2012, p. 20.
43
   “Seafood Compensation Program,” Exhibit 10 of Deepwater Horizon Economic and Property Damages
Settlement Agreement as Amended on May 2, 2012, p. 24.
44
   “Seafood Compensation Program,” Exhibit 10 of Deepwater Horizon Economic and Property Damages
Settlement Agreement as Amended on May 2, 2012, pp. 32-33.
45
   “Seafood Compensation Program,” Exhibit 10 of Deepwater Horizon Economic and Property Damages
Settlement Agreement as Amended on May 2, 2012, p 27.
46
   “Seafood Compensation Program,” Exhibit 10 of Deepwater Horizon Economic and Property Damages
Settlement Agreement as Amended on May 2, 2012, pp. 28-30.

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41.      Lease zone compensation levels are tied qualitatively to expectations of future costs from
         2010 freshwater diversions.47 They distinguish between areas that are subject to more
         versus less risk of harm, assuming that the 2010 freshwater diversions caused harm to the
         affected oyster beds.

42.      For oyster harvest losses, the compensation approach is fair, reasonable, and adequate.
         The compensation approach allows for a ten percent escalation of revenues to reflect the
         fact that prices in 2010 were approximately 13 percent higher than prices during the
         baseline period (Exhibit 3).48 Given the large quantity declines in oyster harvest relative
         to the baseline (Exhibit 3) and the importance of the fresh market for oysters, I expect
         that some of this price increase was attributable to harvest declines, and therefore would
         not have occurred in the absence of the incident. As a result, the allowed price adjustment
         is favorable to individual claimants.

43.      The oyster cost percentage is used in the compensation calculation to adjust for costs not
         incurred by oystermen when they do not fish. The oyster cost percentage appears
         reasonable.49 Non-labor variable costs include fuel and other supplies. Estimates of these
         costs, which are provided in Exhibit 8, are close to the 12 percent cost percentage used in
         the SCP.50

44.      I cannot comment specifically on the leaseholder payment percentage of 33 percent.51 In
         general, I would expect such a payment to be large enough to incentivize private
         investment in improving private oyster grounds but small enough to leave some potential
         profit margin for harvesters after accounting for fuel costs, labor costs, costs of other
         supplies, and amortized vessel, equipment, and depreciation costs. As such, 33 percent
         does not strike me as unreasonable.


47
   “Seafood Compensation Program,” Exhibit 10 of Deepwater Horizon Economic and Property Damages
Settlement Agreement as Amended on May 2, 2012, p. 28.
48
   “Seafood Compensation Program,” Exhibit 10 of Deepwater Horizon Economic and Property Damages
Settlement Agreement as Amended on May 2, 2012, p. 30.
49
   “Seafood Compensation Program,” Exhibit 10 of Deepwater Horizon Economic and Property Damages
Settlement Agreement as Amended on May 2, 2012, p. 30.
50
   “Seafood Compensation Program,” Exhibit 10 of Deepwater Horizon Economic and Property Damages
Settlement Agreement as Amended on May 2, 2012, p. 35.
51
   “Seafood Compensation Program,” Exhibit 10 of Deepwater Horizon Economic and Property Damages
Settlement Agreement as Amended on May 2, 2012, p. 33.

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45.      The loss percentage is used in the compensation calculation to calculate the proportion of
         projected annual revenues presumed lost as a result of the Deepwater Horizon incident.
         The loss percentage for oysters is fair and reasonable. Comparing the average total
         landings in 2007-2009 to the average landings in 2010, there was an approximate 31
         percent decline in the class geographies (Exhibit 3). This figure is significantly below the
         loss percentage of 40 percent in the SCP.52 These loss percentages are therefore
         appropriate and favorable to individual claimants.

46.      The RTPs for oysters are large.53 Specifically, owners will receive 9.75 times their
         estimated lost margin and captains will receive 8.75 their estimated lost margin. In
         summary, it is my opinion that the oyster component of the SCP is fair, reasonable, and
         adequate, and likely to over-compensate individual claimants.

            c. Blue Crab

47.      Blue crab participants are eligible for compensation from lost revenues and some
         additional compensation of $7,500 on a per vessel basis.54 This twofold compensation
         approach accounts for both the downturn in landings in 2010 and the potential that some
         blue crab fishermen incurred capital losses as a result of damaged or lost fishing gear
         (such as crab traps) in the period following the oil spill.

48.      The revenue calculation includes an upward adjustment of 20 percent to account for price
         increases.55 Actual prices in 2010 increased 29 percent relative to the baseline period
         (Exhibit 3). The adjustment assumes that prices would have gone up significantly, though
         not as much as the approximately 29 percent experienced, even in the absence of the
         Deepwater Horizon incident. This is in spite of the approximately 27 percent blue crab
         volume declines in 2010 relative to the baseline (Exhibit 3). It is my opinion that the
         upward adjustment for price increases is fair and reasonable.

52
   “Seafood Compensation Program,” Exhibit 10 of Deepwater Horizon Economic and Property Damages
Settlement Agreement as Amended on May 2, 2012, p. 35.
53
   “Seafood Compensation Program,” Exhibit 10 of Deepwater Horizon Economic and Property Damages
Settlement Agreement as Amended on May 2, 2012, p. 36.
54
   “Seafood Compensation Program,” Exhibit 10 of Deepwater Horizon Economic and Property Damages
Settlement Agreement as Amended on May 2, 2012, pp. 58-61.
55
   “Seafood Compensation Program,” Exhibit 10 of Deepwater Horizon Economic and Property Damages
Settlement Agreement as Amended on May 2, 2012, p. 59.

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49.      The blue crab cost percentage is used in the compensation calculation to adjust for costs
         not incurred by blue crab fishermen when they do not fish. I do not have access to
         surveys that would allow me to comment specifically on the blue crab cost percentage of
         35 percent.56 In the absence of other data, it is reasonable to believe that costs would be
         lower than in the shrimp fishery given the fuel intensity of shrimp trawling.

50.      The loss percentage is used in the compensation calculation to calculate the proportion of
         projected annual revenues presumed lost as a result of the Deepwater Horizon incident.
         The blue crab loss percentage of 35 percent is fair and reasonable compared to the
         somewhat lower decline in 2010 landings of approximately 27 percent relative to the
         baseline period (Exhibit 3). The difference between the 35 percent in the SCP and the
         actual declines is favorable to individual claimants.

51.      The RTPs for blue crab are sufficiently large to expect that they will cover any
         reasonable expectation of future losses.57 Specifically, owners will receive seven times
         their estimated lost margin and captains will receive six times their estimated lost margin.
         In summary, it is my opinion that the blue crab component of the SCP is fair, reasonable,
         and adequate, and likely to over-compensate individual claimants.

            d. Finfish

52.      Finfish fisheries include a large number of fish species. Compared to shrimp, oyster, and
         blue crab, quantity declines were more modest. Comparing 2010 to the baseline period,
         landings declined by approximately 15 percent (Exhibit 3). Of course, these numbers are
         difficult to interpret because landings aggregate different species that have different
         product yields. Average finfish prices decreased such that revenues decreased more than
         quantities in 2010 (Exhibit 3).




56
   “Seafood Compensation Program,” Exhibit 10 of Deepwater Horizon Economic and Property Damages
Settlement Agreement as Amended on May 2, 2012, p. 59.
57
   “Seafood Compensation Program,” Exhibit 10 of Deepwater Horizon Economic and Property Damages
Settlement Agreement as Amended on May 2, 2012, p. 61.

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53.      Finfish benchmark revenues do not apply an adjustment factor for increasing prices.58
         This is reasonable given that prices actually declined. It is fair to potential claimants
         because the baseline revenue period actually had higher prices. Thus, the approach to
         computing benchmark revenues effectively attributes all price decreases in 2010 relative
         to the baseline to the Deepwater Horizon incident. This assumption is favorable to
         individual claimants. One caveat here is that global seafood prices have been trending
         upward in general.59

54.      The finfish cost percentage is used in the compensation calculation to adjust for costs not
         incurred by finfish fishermen when they do not fish. The finfish cost percentage of 27
         percent in the SCP is comparable to that estimated using data from the annual logbook
         survey.60,61 The finfish cost percentage is fair and reasonable.

55.      The loss percentage is used in the compensation calculation to calculate the proportion of
         projected annual revenues presumed lost as a result of the Deepwater Horizon incident.
         The finfish loss percentage of 25 percent is fair and reasonable.62 The actual decrease in
         quantity, recognizing that the aggregate number adds quantities across different species,
         was approximately 15 percent (Exhibit 3). The 25 percent allows for the possibility that
         some finfish fisheries were harmed more than the aggregate data suggest. For those
         potentially harmed less, claimants are receiving generous amounts of compensation. In
         my opinion, this approach strikes a reasonable balance to reflect the complexity,
         diversity, and natural variability of the large array of finfish species that are fished in the
         Gulf of Mexico.




58
   “Seafood Compensation Program,” Exhibit 10 of Deepwater Horizon Economic and Property Damages
Settlement Agreement as Amended on May 2, 2012, p. 47.
59
   Tveteras, Sigbjørn, Asche, Frank, Bellemare, Marc F., Smith, Martin D., Guttorsmen, Atle G., Lem, Audun, Lien,
Kristin, and Stefania Vannuccini, “Fish is Food - The FAO’s Fish Price Index,” PLoS ONE, May 8, 2012, available
at http://www.plosone.org/article/info%3Adoi%2F10.1371%2Fjournal.pone.0036731.
60
   “Seafood Compensation Program,” Exhibit 10 of Deepwater Horizon Economic and Property Damages
Settlement Agreement as Amended on May 2, 2012, p. 47.
61
   Using data from the Annual Logbook Survey, I estimate that annual non-labor variable costs as a percent of
annual gross finfish revenues are roughly 30 percent. (Based on analysis of NOAA Southeast Fisheries Science
Center annual logbook data.)
62
   “Seafood Compensation Program,” Exhibit 10 of Deepwater Horizon Economic and Property Damages
Settlement Agreement as Amended on May 2, 2012, p. 47.

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56.      For IFQ species, claimants who harvest and own quotas are eligible for compensation
         from both the historic revenue loss method and for direct compensation to IFQ share
         holders.63 Allowing for both types of compensation favors potential claimants.

57.      The red snapper IFQ program started in 2007, whereas the other IFQ species programs
         started in 2010 (Exhibit 9). I only have access to publicly available IFQ data through
         2010, so it is not possible to look at movements in quota prices for other IFQ species
         besides red snapper. In IFQ markets, economic theory and empirical evidence suggests
         that the quota price should capitalize the future stream of expected profits from holding
         that quota. In other words, the price of an IFQ reflects the value of holding a perceived
         right to fish for a specified share of the total allowable catch into the future. If expected
         future profits decrease, one would expect the quota price to decrease. If expected future
         profits increase, one would expect the quota price to increase. Although I have not
         attempted to estimate what the price of red snapper quota would have been absent the
         Deepwater Horizon incident, there is no indication in the 2010 data that suggests an
         expectation of future harm to the fishery. In fact, to the extent that the data suggest
         anything, they suggest the opposite.64 While the price of red snapper decreased slightly
         from 2009 to 2010, the quota price increased slightly (Exhibit 9). One should be cautious
         in attaching too much meaning to movements in red snapper quota prices. Nevertheless,
         red snapper quota prices provide a noteworthy bellwether of market expectations about
         the future.

58.      The RTPs for finfish are sufficiently large to expect that they will cover any reasonable
         expectation of future losses.65 Specifically, owners will receive seven times their
         estimated lost margin and captains will receive six times their estimated lost margin. In
         summary, it is my opinion that the finfish component of the SCP is fair, reasonable, and
         adequate, and likely to over-compensate individual claimants.


63
   “Seafood Compensation Program,” Exhibit 10 of Deepwater Horizon Economic and Property Damages
Settlement Agreement as Amended on May 2, 2012, pp. 44-50.
64
   Note: the 2012 quota level for Red Snapper was increased, which may also be indicative of the health of the
fishery. (National Marine Fisheries Service, “Gulf of Mexico 2010 Red Snapper Individual Fishing Quota Annual
Report,” NOAA, Oct. 28, 2011.)
65
   “Seafood Compensation Program,” Exhibit 10 of Deepwater Horizon Economic and Property Damages
Settlement Agreement as Amended on May 2, 2012, p. 49.

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VII.     Other Seafood

59.      The category of Other Seafood captures the rest of Gulf of Mexico fisheries that were
         potentially affected by the Deepwater Horizon incident. The total quantity landed
         decreased by approximately five percent in 2010 relative to the 2007-2009 average, and
         the average price increased by 35 percent relative to the 2007-2009 average (Exhibit 3).
         As in the case of finfish, it is difficult to interpret these numbers because landings are
         adding together different species that have different biological characteristics and
         physical yields. The SCP compensation takes a middle ground for Other Seafood.

60.      The loss percentage is used in the compensation calculation to calculate the proportion of
         projected annual revenues presumed lost as a result of the Deepwater Horizon incident.66
         The Other Seafood loss percentage of ten percent is fair and reasonable compared to the
         somewhat lower decline in 2010 landings of approximately five percent relative to the
         baseline period (Exhibit 3).67 The difference between the ten percent in the SCP and the
         actual declines is favorable to individual claimants.

61.      The compensation approach inflates baseline revenues by ten percent,68 which reflects a
         smaller price increase than actually occurred in aggregate.

62.      The Other Seafood cost percentage is used in the compensation calculation to adjust for
         costs not incurred by fishermen when they do not fish. I did not attempt to calculate a
         cost percentage for Other Seafood, but the 35 percent in the SCP is in line with cost
         percentages in other fisheries covered by the SCP.69

63.      The RTPs for Other Seafood are smaller, but similar to finfish and blue crab RTPs.70
         They are still sufficiently large to expect that they will cover reasonable expectations
         about future losses. Specifically, owners will receive 6.5 times their estimated lost margin
66
   “Seafood Compensation Program,” Exhibit 10 of Deepwater Horizon Economic and Property Damages
Settlement Agreement as Amended on May 2, 2012, p. 62.
67
   “Seafood Compensation Program,” Exhibit 10 of Deepwater Horizon Economic and Property Damages
Settlement Agreement as Amended on May 2, 2012, p. 62.
68
   “Seafood Compensation Program,” Exhibit 10 of Deepwater Horizon Economic and Property Damages
Settlement Agreement as Amended on May 2, 2012, p. 61.
69
   “Seafood Compensation Program,” Exhibit 10 of Deepwater Horizon Economic and Property Damages
Settlement Agreement as Amended on May 2, 2012, pp. 22, 34, 47, 59, and 62.
70
   “Seafood Compensation Program,” Exhibit 10 of Deepwater Horizon Economic and Property Damages
Settlement Agreement as Amended on May 2, 2012, p. 63.

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         and captains will receive 5.5 times their estimated lost margin. It is my opinion that the
         other seafood component of the SCP, while more complex to assess than other elements
         of the program, is fair, reasonable, and adequate, and likely to over-compensate
         individual claimants.

VIII. Crew Compensation

64.      Crew members are eligible for compensation for lost wages using a loss percentage of 37
         percent.71 It is fair and reasonable in that it exceeds the actual decreases in fishing
         volumes in all fishery categories specified in the SCP, and is in the range of the larger
         loss percentages used in other aspects of the SCP.

65.      Crew members are eligible to submit claims for lost wages associated with all activity as
         crew members, and to the extent that they are not employed full-time in fishing, they can
         make claims separate from the SCP associated with lost wages in other sectors.72

66.      The SCP recognizes that crew members may be paid in cash and may not be able to
         document their earnings through payroll or tax records. As a result, the SCP allows crew
         members to document claims and to receive compensation in a variety of mechanisms
         that are specially tailored to the seafood industry.73 This flexibility is a source of value
         and permits some participants in the seafood industry to receive compensation that they
         otherwise would not be able to receive.

67.      Crews also receive an RTP of 2.25.74 In my view, this premium is fair and reasonable. I
         will address this issue in more detail in the context of the next section.

IX.      General Discussion of Fairness of Levels of RTPs

68.      Many assumptions throughout the SCP are favorable to potential claimants. While fishing
         activity has returned to pre-spill levels in many of the Gulf’s fisheries, I cannot know for

71
   “Seafood Compensation Program,” Exhibit 10 of Deepwater Horizon Economic and Property Damages
Settlement Agreement as Amended on May 2, 2012, pp. 70 and 77.
72
   Deepwater Horizon Economic and Property Damages Settlement Agreement as Amended on May 2, 2012, pp.
20-23.
73
   “Seafood Compensation Program,” Exhibit 10 of Deepwater Horizon Economic and Property Damages
Settlement Agreement as Amended on May 2, 2012, p. 65.
74
   “Seafood Compensation Program,” Exhibit 10 of Deepwater Horizon Economic and Property Damages
Settlement Agreement as Amended on May 2, 2012, pp. 70 and 77.

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         certain what the future holds for Gulf of Mexico fisheries and whether the Deepwater
         Horizon incident might or might not lead to any longer-term and lasting harms to
         commercial fisheries. RTPs add substantial cushion on top of fair and reasonable
         estimates of 2010 losses that account for future risk and uncertainty.

69.      RTPs are higher for vessel owners than they are for captains.75 Vessel owners have
         invested significant financial capital in fisheries. This capital tends to be durable, and as
         such, can be bequeathed to others. Captains have invested significant human capital in
         developing skills for operating in particular fisheries. Some of this human capital can be
         bequeathed to future generations through mentoring, but it is not as transferable as a
         fishing vessel and there is little or no remuneration that comes with transferring that
         human capital. In expectation then, future harms will be more costly to vessel owners
         than to captains, and it is fair that RTPs are slightly higher for vessel owners.

70.      For both captains and vessel owners, physical and human capital are not entirely
         fungible. Human capital and physical capital can be specialized and tied to particular
         fisheries, making it less valuable in other settings. Moreover, overcapitalization in
         fisheries in general and tightening regulations to control overfishing in the United States
         increase barriers to entry in other fisheries. If there are future damages to the Gulf of
         Mexico fisheries that result from the Deepwater Horizon incident, it might be difficult for
         captains and owners to recoup returns on their investments by exploiting fisheries in
         other regions. Thus, a long-term degradation of Gulf of Mexico fisheries could result in
         significant diminution of value of captain and vessel owner capital.

71.      In contrast, crew members have invested much less human capital in fisheries than
         captains and have little or no financial capital invested in the commercial fishing.
         Moreover, barriers to entry in fisheries in other regions for crew members are not likely
         to be as pronounced as they are for vessel owners and captains. For these reasons, it is
         reasonable that crew RTPs are lower than captain and owner RTPs. It is my




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  “Seafood Compensation Program,” Exhibit 10 of Deepwater Horizon Economic and Property Damages
Settlement Agreement as Amended on May 2, 2012, pp. 12, 13, 15, 17, 18, 24, 33, 36, 48, 49, 61, and 63.

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         understanding that crew RTPs are also consistent with RTPs for labor in other sectors
         outside of seafood harvesting.76

X.       Conclusions

72.      For all the reasons stated above I believe that the SCP fairly, reasonably, and adequately
         compensates the participants in the program. The SCP provides a fair, reasonable, and
         adequate amount of total compensation to the SCP claimants. In addition, I believe it
         fairly compensates the individual claimants in the Gulf fisheries covered in the SCP. I
         believe that the SCP comprehensively covers all potential claimants within the SCP, and
         does so in a manner that acknowledges sufficient distinctions across fisheries to be fair,
         while maintaining enough simplicity to be practical and transparent.



I declare under penalty of perjury under the laws of the United States of America that the above
accurately states my opinions and analysis of the SCP.



Dated: August 12, 2012



Martin D. Smith




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  For example, in the Economic and Property Damages Settlement which was also a part of the Deepwater Horizon
settlement, individuals employed in the tourism industry had RTPs of 1.25-2.50. (“RTP Chart,” Exhibit 15 of
Deepwater Horizon Economic and Property Damages Settlement Agreement as Amended on May 2, 2012, p. 1.)

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                  Smith Declaration
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                                  Appendix A: CV of Martin D. Smith




MARTIN D. SMITH
The Dan and Bunny Gabel Associate Professor of Environmental Economics
Nicholas School of the Environment
Duke University
Box 90328, Durham, NC 27708
Email: marsmith@duke.edu, Phone: (919) 613-8028

Education

UNIVERSITY OF CALIFORNIA, DAVIS
Ph.D. in Agricultural and Resource Economics, 2001
Fields: Environmental and Resource Economics, Econometrics
Dissertation: “Spatial Behavior, Marine Reserves, and the California Red Sea Urchin Fishery”
Committee: James E. Wilen (chair), Douglas M. Larson, David F. Layton, Jeffrey C. Williams

STANFORD UNIVERSITY
B.A. in Public Policy with a concentration in Environmental Policy, 1992

Honors and Awards

2011     Aldo Leopold Leadership Fellowship
2010     Quality of Research Discovery, Agricultural and Applied Economics Association (w/ J.N. Sanchirico
         and J.E. Wilen)
2008     Dr. S.-Y. Hong Award for Outstanding Article in Marine Resource Economics (w/ J. Zhang and F.C.
         Coleman)
2004     Quality of Research Discovery, American Agricultural Economics Association (AAEA) (w/ J.E. Wilen)
2002     AAEA Outstanding Dissertation
2001     AAEA Outstanding Essay for the 21st Century Honorable Mention (w/ J.E. Wilen)
2001     Gordon A. King Outstanding Dissertation Award in Agricultural and Resource Economics, U.C. Davis
2000     Best Student Paper, International Institute for Fisheries Economics and Trade
1999     Jastro Shields Research Fellowship
1998     California Sea Grant College Traineeship
1996     Giannini Foundation Fellowship
1991     Krupp Foundation Fellowship

Professional Positions and Appointments

2011 – present          The Dan and Bunny Gabel Associate Professor of Environmental Economics
2008 – 2011             Associate Professor of Environmental Economics
2001 – 2008             Assistant Professor of Environmental Economics
                        Division of Environmental Science and Policy
                        Nicholas School of the Environment
                        Duke University

2012 – present          Editor, Marine Resource Economics


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2007 – 2009           Co-Editor, Journal of Environmental Economics and Management
and 2010 – 2011

2008 – present        Scientific and Statistical Committee, Mid-Atlantic Fishery Management Council

2006 – 2007,           Editorial Council, Journal of Environmental Economics and Management
2008 – 2009, 2012 – present

2010 – present        Editorial Advisory Board, The Open Fish Science Journal

2004 – 2007           Associate Editor, Marine Resource Economics

2003 – present        Assistant/Associate Professor of Economics (Secondary Appointment)
                      Department of Economics
                      Duke University

2005 – present        Assistant/Associate Professor (Secondary Appointment)
                      Division of Marine Science and Conservation
                      (formerly Coastal Systems Science and Policy)
                      Nicholas School of the Environment
                      Duke University

1996 – 2001           Post Graduate Researcher; Instructor; Research Assistant; Teaching Assistant
                      University of California, Davis

1993 – 1996           Associate; Research Analyst
                      Law and Economics Consulting Group, Inc. (LECG), Emeryville, CA

1986 – 1990, 1992     Data Analyst
 (summers)            Del Mar Thoroughbred Club, Del Mar, CA

1991                  Intern
 (summer)             United Nations Environment Programme, Washington, D.C.

                                 PROFESSIONAL WRITING
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   Smith, M.D., “Rapporteur Report on Natural Resource Scarcity: From Non-renewable to Renewable
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   Smith, M.D. and J.E. Wilen, “Analysis of a Spatial Rotation Plan for the Tule Lake National Wildlife
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   Smith, M.D., “Statistical Models of Catch Per Unit Effort: Localized Depletions of Pacific Cod in the
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   Atka Mackerel,” Report to the Alaskan Fisheries Science Center, NOAA, 1999

   Smith, M.D., “Report on Leslie Regressions of Alaskan Atka Mackerel Populations,” Report to the Alaskan
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   Smith, M.D., “Open access and the fishery,” Intended for Encyclopedia of Environmental Economics, T.
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   Asche, F., C. Roheim, and M.D. Smith, “Markets, Trade and Seafood,” Intended for Encyclopedia of
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   McNamara, D., S. Gopalakrishnan, M.D. Smith, and A.B. Murray “Stochastic storms and the dynamics of
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   commercial fishery data,” Program of the Seventh William R. and Lenore Mote International Symposium,
   Spatial Dimensions of Fisheries: Putting it All in Place, November 2008

   Smith, M.D. Abstract of “Fishermen Behavior 101: What to fish for, with what, where, when, and how
   hard,” Program of the American Fisheries Society 137th Annual Meeting (CD ROM), 2007



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Smith, M.D. and J. Zhang. Abstract of “Sorting Models in Discrete Choice Fisheries Analysis,” Program of
the American Fisheries Society 137th Annual Meeting (CD ROM), 2007

Smith, M.D. and L. Huang, Abstract of “Effects of Hypoxia on Fishery Productivity,” Program of NAAFE
2007: The Role of Economics in Mitigating Unsustainability of Fisheries, Mérida, Yucatán, México, 2007

Smith, M.D., Abstract of “Numerical Experiments in Empirical Spatial Fisheries Modeling,” Program of
NAAFE 2007: The Role of Economics in Mitigating Unsustainability of Fisheries, Mérida, Yucatán,
México, 2007

Smith, M.D. and J. Zhang, Abstract of “Sorting Models in Discrete Choice Fisheries Analysis,” Program of
NAAFE 2007: The Role of Economics in Mitigating Unsustainability of Fisheries, Mérida, Yucatán,
México, 2007

Smith, M.D., Abstract of “Endogenous fishing mortality in life history models: Relaxing some implicit
assumptions,” Program of NAAFE 2007: The Role of Economics in Mitigating Unsustainability of
Fisheries, Mérida, Yucatán, México, 2007

Smith, M.D., Abstract of “Bioeconometrics: Empirical Modeling of Bioeconomic Systems,” IIFET 2006:
Rebuilding Fisheries in an Uncertain Environment Book of Abstracts, The Thirteenth Biennial Conference
of the International Institute of Fisheries Economics and Trade, Portsmouth, UK, 2006

Sanchirico, J.N., M.D. Smith, and D.W. Lipton, Abstract of “Ecosystem Portfolios: A Finance-based
Approach to Ecosystem Management,” IIFET 2006: Rebuilding Fisheries in an Uncertain Environment
Book of Abstracts, The Thirteenth Biennial Conference of the International Institute of Fisheries Economics
and Trade, Portsmouth, UK, 2006

Smith, M.D., J. Zhang, and F.C. Coleman, Abstract of “A Hierarchical Bayes Approach to Discrete Choice
Fisheries Modeling: The Effects of Marine Reserves on Fishing Behaviour,” program for the 2005 Forum of
the North American Association of Fisheries Economists, Fisheries Benefits to All Generations: The Role of
Economics

Smith, M.D. and L.B. Crowder, Abstract of “Valuing Ecosystem Services with Fishery Rents: A Lumped-
Parameter Approach to Hypoxia in the Neuse River Estuary,” program for the 2005 Forum of the North
American Association of Fisheries Economists, Fisheries Benefits to All Generations: The Role of
Economics

Smith, M.D. and J.E. Wilen, Abstract of “State Dependence and Heterogeneity in Fishing Location
Choice,” International Institute for Fisheries Economics and Trade Book of Abstracts, Wellington, New
Zealand, August 2002

Smith, M.D., Abstract of “Limited Entry Licensing and Adaptive Management,” International Institute for
Fisheries Economics and Trade Book of Abstracts, Wellington, New Zealand, August 2002

Smith, M.D. and J.E. Wilen, Abstract of “Economic Impacts of Marine Reserves: The Importance of
Spatial Behavior,”2nd World Congress of Environmental and Resource Economists Book of Abstracts

Smith, M.D. and J.E. Wilen, Abstract of “Correlated Risk Preferences and Behavior of Commercial
Fishermen: The Perfect Storm Dilemma” 2nd World Congress of Environmental and Resource Economists
Book of Abstracts

Smith, M.D. and J.E. Wilen, Abstract of “Spatial Patterns of Renewable Resource Exploitation: The Case
of the California Sea Urchin Fishery,” American Journal of Agricultural Economics 81(5), 1291, 1999


                                                  A-10
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   Smith, M.D., Abstract of “Breeding Incentive Programs and Demand for California Thoroughbred Racing:
   The Trade-off Between Quantify and Quality,” American Journal of Agricultural Economics 81(5), 1316,
   1999

                                      RESEARCH FUNDING

Grants, Contracts, and Funded Working Groups

   Murray, A.B. and M.D. Smith (Co-PI), $460,036, “Modeling New Behaviors Emerging from Coupling
   Physical Coastal Processes and Coastal Economies,” NSF ESE Collaborative Research, FUNDED, 2010-
   2013

   Smith, M.D. (PI), $5,000, “Spatial behavior of Pacific cod catcher vessels and oceanographic indicators: an
   exploratory analysis using a horizontal sorting model,” NOAA Alaska Fisheries Science Center (through
   Oak Management), FUNDED, 2010-2011

   Craig, J.K. (PI), M.D. Smith (PI), L.S. Bennear, J. Nance, $702,700, “Effects of hypoxia on harvest
   dynamics and economics of the shrimp fishery in the northwestern Gulf of Mexico,” NOAA NGOMEX,
   FUNDED, 2009-2013

   Smith, M.D. (PI) and M.S. Lozier, $30,000, “Towards an Empirical Foundation for Marine
   Ecosystem-based Management: Fishing Behavior, Fish Abundance, and Climate Change,” Duke Center for
   Global Change, Internal Funding for a Working Group, FUNDED, 2009-2010

   Crowder, L.B. and M.D. Smith (Co-PI), $110,600, “Sustainable Global Seafood Markets,” Working Group,
   National Center for Ecological Analysis and Synthesis, FUNDED, 2009-2010

   Smith, M.D. (PI), $50,053, “Dynamic Search Behavior and the Alaskan Crab Rationalization Program,”
   Pacific States Marine Fisheries Commission, FUNDED, 2008-2009

   Murray, A.B., T. Crowley, M. Orbach, J. Ramus, and M.D. Smith (Co-PI), $1,198,000, "Coupling Human
   and Natural Influences on Coastline Evolution as Climate Changes," NSF Biocomplexity – Coupled
   Human Natural Systems Program, FUNDED, 2005-2010

   Craig, J.K., L.B. Crowder, and M.D. Smith (Co-PI), $575,000, “Linking hypoxia-induced habitat
   degradation to fishery outcomes: a bioeconomic approach based on brown shrimp,” NOAA Coastal Oceans
   Program, FUNDED, 2005-2008

   Smith, M.D. (PI), $15,000, “A Pilot Analysis of Size-based High-grading and the Potential for
   Individualized Landings Taxes to Embed Size-based Incentives: A Case Study of the U.S. West Coast
   Sablefish Fishery,” Subcontract from UC Santa Barbara, FUNDED, 2007-2008

   Smith, M.D. (PI), J.N. Sanchirico (PI), and D.W. Lipton, $200,000, “Trophic Portfolios in Commercial
   Fishing: A Finance-based Approach to Ecosystem Management with and Application to the Chesapeake
   Bay,” Chesapeake Bay Fisheries Research Program, National Marine Fisheries Service, NOAA, FUNDED,
   July 2004 – October 2006

   Smith, M.D. (PI) and F.C. Coleman (PI), $224,000, “Incorporating Fisher Behavior Into Management
   Models: A Case Study of the Reef Fish Fishery of the Eastern Gulf of Mexico,” Saltonstall-Kennedy
   (National Marine Fisheries Service), NOAA, FUNDED, 2003-2007




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   Smith, M.D.(PI), “Renewable Resource Production Surfaces, Bioeconomic Steady States, and Space,”
   Fishery Statistics and Economics Division, National Marine Fisheries Service, NOAA, 2002, FUNDED,
   $10,000

   Smith, M.D. (PI), “Statistical Models of Catch Per Unit Effort: Localized Depletions of Pacific Cod in the
   Eastern Bering Sea,” Alaska Fisheries Science Center, National Marine Fisheries Service, NOAA , 2000,
   FUNDED, $5,000

   Smith, M.D. (PI), “Statistical Models of Catch Per Unit Effort: Assessing Localized Depletions of Alaskan
   Atka Mackerel,” Alaska Fisheries Science Center, National Marine Fisheries Service, 1999, FUNDED,
   $5,000

   Smith, M.D. (PI), “Report on Leslie Regressions of Alaskan Atka Mackerel Populations,” Alaska Fisheries
   Science Center, National Marine Fisheries Service, NOAA, 1998, FUNDED, $1,400

Travel Awards and Honoraria

   Honorarium for Micro-econometric Modeling in Environmental and Resource Economics, EPA-sponsored
       Workshop, Washington DC, May 2009
   Honorarium for Keynote Address, Workshop on Choice Modeling, Centre for Fisheries & Aquaculture
       Management & Economics, University of Southern Denmark, June 2008
   Honorarium for Contributed Paper to The Frontiers in Environmental Economics, Resources for the Future,
       Washington, D.C., 2007
   Honorarium for Micro-econometric Modeling in Environmental and Resource Economics, EPA-sponsored
       Workshop, Research Triangle Park, NC, Fall 2006
   Honorarium for Contributed Paper to Linking Economic and Ecological Models for Environmental Policy
       Analysis: Challenges and Research Strategies, NSF-EPA Biocomplexity Workshop, 2005
   University of Maryland Department of Agricultural and Resource Economics Seminar Honorarium, 2003
   Honorarium for Natural Resource Scarcity Session, 2nd World Congress of Env. and Resource Econ., 2002
   International Travel Award for Junior Faculty, Duke University International Affairs Committee, 2002
   Duke Marine Lab Speaker Series Honorarium, 2001
   American Agricultural Economics Association Student Travel Award, Summer 1999
   U.C. Davis Graduate Student Association Travel Award, Summer 1999

                                   TEACHING and ADVISING
Courses Taught or in Progress

   ENV 391 Research Seminar in Environmental Policy, Fall 2011
   ENV 186S Should I Eat Fish? Economics, Ecology, and Health (marine conservation leadership certificate
       capstone course), Spring 2011, 2012
   ENV 379 (ECON Cross-list): Natural Resource Economics (Duke, Fall 2005, 2008, 2010, Spring 2007)
   ENV 252 (formerly 298.32): Sustainability and Renewable Resource Economics (Duke, Spring 2002, 2003,
       2004, 2007, 2008, 2011, 2012, Fall 2005)
   ENV 270 (ECON/PPS Cross-list): Resource and Environmental Economics (Duke, Fall 2001, 2002, 2003,
       2007, 2008)
   ENV 395.05S: Masters Project Seminar for Resource Economics and Policy, (Duke, 2003-04, 2010-2011)
   ENV 298.22: Clean Electricity (with R. Harkrader), (Duke, Fall 2003)
   ARE 100A: Intermediate Microeconomics (U.C. Davis, Fall 1999)

Planned Courses

   ENV 1/2__ Economic Perspectives on Marine and Coastal Resource Policy (undergrad/masters)


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Mini-courses and Guest Lectures

   Causality in Natural Resource Economics (Duke History Dept., Fall 2011)
   Navigating an Interdisciplinary Research Career (Duke, Spring 2011)
   Simulation in Renewable Resource Economics (Duke, Spring 2007)
   Fishing for Chocolates (Duke, Fall 2006, 2007, 2008, 2010)
   Fossil Fuel Scarcity and the Environment (Duke, Spring 2004)
   Economics of Water and Water Markets (Duke, 2001, 2002, 2003)
   Economics of Marine Protected Areas (Duke, Fall 2002)
   Nicholas School Mathematics Review (Duke, Fall 2001, 2002, 2003, 2005, 2006, 2007, 2008,2010, 2011)
   Nicholas School Microeconomics Review (Fall 2002, 2003, 2007, 2008)
   Discounting in Environmental Economics (U.C. Davis, Spring 2001)

Teaching Assistant

   Intermediate Microeconomics (U.C. Davis, Fall 1997)
   Linear Programming (U.C. Davis, Spring 1997)
   Econometrics (U.C. Davis, Winter 1997 and Fall 1996)

Ph.D. Student Advising

   Supervisor for 4 Ph.D. Students
              Junjie Zhang, Nicholas School, (2003- 2008)
                       Dissertation Title: “Production from Natural Resources with a Latent Stock: The Case
                           of the Fishery”
                       Joseph L. Fisher Doctoral Dissertation Award, Resources for the Future, 2007-08
                       Assistant Professor of Environmental Economics, School of International Relations and
                           Pacific Studies, University of California, San Diego, Fall 2008 -

             Ling Huang, NSEES, (2004-2009)
                     Dissertation Title: “Analyses of Marine Resources Management with Micro-data”
                     Best Student Paper Honorable Mention, 2010 Conference of the International Institute
                         of Fisheries Economics and Trade, Montpellier, France
                     Post-doctoral Fellow (January 2010-July 2011), Fisheries Centre, University of British
                         Columbia
                     Assistant Professor, Department of Economics, University of Connecticut, Fall 2011-

             Sathya Gopalakrishnan (2005- 2010)
                     Dissertation Title: “Shifting Shorelines: Combining Economics and Geomorphology in
                         Beach Management”
                     AAEA Outstanding Dissertation Honorable Mention, 2011
                     Sea Grant Association Award for the Best Student Paper/Presentation at the Coastal
                         Society's International Conference, Wilmington, NC 2010
                     Post-doctoral Fellow, Duke University, 2010-2011
                     Assistant Professor, Department of Agricultural, Environmental, and Development
                         Economics, The Ohio State University, Fall 2011-

             Ashley Vissing (2010-present), Co-chair with Lori Bennear

   Member of 17 Ph.D. Committees



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             Christopher Liese, Duke, Nicholas School, DESP (completed in 2003)
             Jon Eisen-Hecht, Duke, Nicholas School, DESP (completed in 2005)
             James Abbott, Duke, Nicholas School, CSSP (completed in 2005)
             Katie Hansen Dickinson, Duke, Nicholas School, DESP (completed in 2008)
             Jordan Slott, Duke, Nicholas School, EOS (completed in 2008)
             Zachary Brown, Duke, Nicholas School, DESP (2007 – present)
             Bentley Coffey, Duke, Economics Department (completed in 2004)
             Kelly Bishop, Duke, Economics Department, (completed in 2008)
             Chris Moore, NC State, Economics Department (completed in 2008)
             Mitchell Dudley NC State, Economics Department (2006 – present)
             Peter Maniloff, Duke, Nicholas School, DESP (2008 – present)
             Zachary Brown, Nicholas School (completed in 2011), 2012 AAEA Outstanding Dissertation
             Nujin Prasertsom, Duke, Economics Department (completed in 2011)
             Daniela Miteva, Duke, Nicholas School (2009 – present)
             Kenny Ells, Nicholas School (2009-present)
             Xiaomei (Barbara) Chen, NCSU (2011-present)
             Sanja Lutzeyer, NCSU (2011-present)

Masters Student Advising

   Supervisor for 34 Masters Projects (31 completed), Duke, Nicholas School
              Alejandro Escobar (2002)                                  Douglas Gorecki (2007)
              Christopher Frangione (2002)                              Bradley Strode (2007)
              Miwa Fujinuma (2002)                                      Oliver Ferrari (2007)
              Jason Hummel (2002)                                       Carla Frisch (2008)
              Michelle Pugliese (2002)                                  Lauren Nichols (2008)
              Helik Shemer (2002)                                       Bo Zhong (2009)
              Jennifer Shweky 2002)                                     Michael Press (2009)
              Shufang Zhang (2002)                                      Mary Greene (2009)
              Makato Hamatani (2003)                                    Susannah Vale (2009)
              Yuhki Kushiro (2003)                                      Ting Lei (2011)
              Emily Woglom (2003)                                       Xiaoyuan Gu (2011)
              Takaharu Funatomi (2004)                                  Eliza Davis (2012)
              Lena Hansen (2004)                                        Sam Cunningham (2012)
              Andrew Hecht (2004)                                       Paul-Harvey Wiener (2012)
              Shinsuke Murikame (2004)                                  Anthony Rogers (in progress)
              Sarah Darley (co-advisor, 2006)                           Keith Carlisle (in progress)
              Kevin Dudney (2007)                                       Jiaxi Wang (in progress)


   Course Advisor for 60+ Masters of Environmental Management Students, Duke, Nicholas School
   Exams Committee, 3 Master of Arts, Duke, Nicholas School, 2002, 2008, 2011
   Committee Member for 2 Master of Public Policy, Duke, Sanford Institute, 2001, 2012

Undergraduate Student Advising

   Advisor for 1 Undergraduate Senior Thesis, Duke, Environmental Science and Policy
              Aaron Windecker (completed in 2003)
   Major Advisor for 7 Undergraduate Environmental Science and Policy Majors, Duke 2002-2005, 2012-
              present
   Supervisor for 3 Undergraduate Independent Studies, Duke, 2002-2003
   Second Reader, Duke Economics Department Undergraduate Honors Thesis, 2006, 2012



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                        OTHER PROFESSIONAL INFORMATION
University Service

Duke University
   Provost’s Academic Programs Committee, 2012-present
   Tenure Committee (chair), Assistant Professor of Environmental Economics and Policy, 2012
   Chair, Nicholas School New Building Classrooms Subcommittee, 2011-present
   Strategic Priorities Committee, Nicholas School, 2011-present
   Program Chair, Environmental Economics and Policy (~80 students currently enrolled), Nicholas School
       MEM Degree, 2010-present
   Search Committee, Assistant/Associate Professor of Environmental Politics, 2011-present
   Faculty Council, Nicholas School, 2010-present (Chair, Fall 2011-present)
   Education Committee (ex officio), Nicholas School, 2010-present
   Co-Coordinator, Triangle Resource and Environmental Economics (TREE) Seminar, 2008-2009, 2010-
   present
   Chair, Ad Hoc Search Committee, Visiting Assistant Professor of Environmental Economics, 2011
   Reappointment Committee, Assistant Professor of Energy Systems, 2011
   Social Science Disciplinary Representative, Nicholas School, 2010-2011
   Faculty Diversity Standing Committee (FDSC), September 2008-2011
   Executive Committee, Duke Center for Marine Conservation, 2005-2011
   Duke Advisory Committee on Investment Responsibility, 2006-2009
   Ad hoc Committee on Incentives and Compensation, ESP Division, 2007-2008
   Seminar Coordinator, Nicholas Institute for Environmental Policy Solutions, 2005-2007
   Search Committee for Gendell Chair in Energy and the Environment, 2005-2006
   Graduate Admissions Committee, Nicholas School, 2002-2004
   Presidential Management Interns Program Selection Committee, Nicholas School, 2002
   Executive Committee, Duke Center for Environmental Solutions, 2003-2005
   Search Committee for Assistant Professor of Environmental Policy, 2003-2004
   Faculty Participant, Duke Up Close Program, Spring 2003, 2004, 2005, 2006
   Duke University Greening Initiative Board of Advisors, 2003-present
   Ad Hoc Statistics Teaching Committee, Nicholas School, 2003
   Computer and Data Committee, Social Science Research Institute, 2004-2005
   Energy Program Task Force, Nicholas School, 2005-2009

University of California, Davis
   Student Member, Search Committee for Assistant Professor of Agricultural Economics
   Graduate Student Seminar Co-Chair, Ag. and Resource Economics, 1999-2001
   Graduate Student Association President, Ag. and Resource Economics, 1998-1999
   Teaching Assistant Retreat Organizer, Ag. and Resource Economics, 1998 and 1999
   Computer Committee, Ag. and Resource Economics, 1997-1999

Professional Affiliations and Service

Member
  American Association for the Advancement of Science
  American Economic Association
  Association of Environmental and Resource Economists
  Agricultural and Applied Economics Association
  International Institute for Fisheries Economics and Trade
  North American Association of Fisheries Economists


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   American Fisheries Society

Program Committee
   Association of Environmental and Resource Economists, 2008-2010 (Chair in 2010)

Journal Reviewing
    American Journal of Agricultural Economics
    Applied Economics
    The B.E. Journal of Economic Analysis and Policy
    Bulletin of Marine Science
    Canadian Journal of Agricultural Economics
    Canadian Journal of Fisheries and Aquatic Sciences
    Conservation Biology
    Conservation Ecology
    Conservation Letters
    Ecological Economics
    Environmental and Resource Economics
    Environment and Development Economics
    Environmental Health Perspectives
    Environmental Management
    Environmental Modeling and Assessment
    European Economic Review
    Fish and Fisheries
    Fisheries Research
    Food Policy
    Frontiers in Ecology and the Environment
    Growth and Change
    Journal of Agricultural and Applied Economics
    Journal of Agricultural and Resource Economics
    Journal of Business and Economic Statistics
    Journal of Environmental Economics and Management
    Journal of Risk and Uncertainty
    Land Economics
    Marine Resource Economics
    Natural Resource Modeling
    Nature Climate Change
    PLoS ONE
    Proceedings of the National Academy of Sciences
    Proceedings of the Royal Society: Biological Sciences
    The Review of Economics and Statistics
    Review of Environmental Economics and Policy
    Resource and Energy Economics
    Science
    Sustainability
    Theoretical Ecology

Guest Editor
   Ecological Applications

Other Reviewing
   Addison-Wesley
   American Agricultural Economics Association Annual Meetings
   Cambridge University Press


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    Congressional Research Service
    Encyclopedia of Energy, Natural Resource and Environmental Economics
    Island Press
    Maine Sea Grant College Program
    National Science Foundation
    National Oceanic and Atmospheric Administration
    Pew Environment Group
    Research Council of Norway
    Stanford University Press
    Triangle Census Data Research Center
    Virginia Marine Resources Commission

Rapporteur
   Natural Resource Scarcity Session in Honor of Resources for the Future, 2nd World Congress of
       Environmental and Resource Economists, Monterey, June, 2002

Session Moderator
    American Agricultural Economics Association Annual Meeting, Long Beach, CA, 2002
    North American Association of Fisheries Economists 2005 Forum, Vancouver, BC Canada
    International Institute for Fisheries Economics and Trade (2 sessions), Portsmouth, UK, 2006

Paper Discussant
   Association of Environmental and Resource Economists (AERE) Sessions (2 papers) at American
       Agricultural Economics Association Annual Meeting, Montreal, Canada, July 2003
   AERE Workshop: Natural Resources at Risk, Jackson, WY, June 2005
   AERE Sessions at American Agricultural Economics Association Annual Meeting, Providence, RI, July
       2005
   3rd World Congress of Environmental and Resource Economists, Kyoto, Japan, 2006
   AERE Sessions at Southern Economic Association Annual Meetings, Charleston, SC, November 2006
   AERE Sessions at Allied Social Science Associations Annual Meeting, San Francisco, CA, January 2009
   AERE Sessions at Allied Social Science Associations Annual Meeting, Denver, CO, January 2011

Judge
   Undergraduate Student Paper Contest, American Agricultural Economics Association Annual Meetings,
      Portland, OR, 2007

                    PRESENTATIONS AND ORGANIZED SESSIONS

Organized Sessions

1. Economics of Beach Management and Coastal Hazard Mitigation, (with C. Landry), Organized
   Symposium, American Agricultural Economics Association, Portland, OR, July 2007

2. Modeling Risk and Uncertainty in Capture Fisheries, (with L.Pendleton), 2nd World Congress of
   Environmental and Resource Economists, Monterey, June 2002

Presentations at Professional Meetings (selection based on peer review of abstracts or full
papers, all presented by M.D. Smith unless otherwise indicated)

1. “Resource Prices and Ecological Regime Shifts,” AERE Summer Conference, Asheville, NC, June 2012




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2. “The Effects of Stochastic Storms on Optimal Beach Management,” AERE Summer Conference, Asheville,
   NC, June 2012 (presented by S. Gopalakrishnan)

3. “The Short-run Impacts of Hypoxia on the Gulf of Mexico Shrimp Fishery” AERE Summer Conference,
   Seattle, WA, June 2011 (presented by L.S. Bennear)

4. “The Dynamic Efficiency Costs of Common-pool Resource Exploitation,” AERE Summer Conference,
   Seattle, WA, June 2011

5. “Coastline Defense Against Rising Sea Level and the Nourishment Dilemma,” AERE Summer Conference,
   Seattle, WA, June 2011 (presented by S. Gopalakrishnan)

6.    “Economic Impacts of Hypoxia on North Carolina Brown Shrimp” Conference of the International Institute
     for Fisheries Economics and Trade, Montpellier, France, July 2010

7.   “Combining Property Rights and Landings Taxes to Mitigate the Ecological Impacts of Fishing,”
     Conference of the International Institute for Fisheries Economics and Trade, Montpellier, France, July 2010

8. “Economic Impacts of Hypoxia on North Carolina Brown Shrimp,” Coasts and Estuaries Research
   Federation Conference, Portland, OR, November 4, 2009 (presented by L. Huang)

9. “The Value of Disappearing Beaches in North Carolina: Incorporating feedbacks between housing markets
   and the coastal system,” AERE Session, 2009 American Agricultural Economics Association Annual
   Meeting, Milwaukee, WI, July 26-28, 2009 (presented by S. Gopalakrishnan)

10. “Measuring the Dynamic Efficiency Costs of Common-pool Resource Exploitation,” AERE Session, 84th
    Annual Conference of the Western Economics Association International, Vancouver, BC, Canada, June 29-
    July 3, 2009 (presented by L. Huang)

11. “The Value of Disappearing Beaches in North Carolina: A Hedonic Pricing Model with Endogenous Beach
    Width,” AERE Session, 84th Annual Conference of the Western Economics Association International,
    Vancouver, BC, Canada, June 29-July 3, 2009 (presented by S. Gopalakrishnan)

12. “Empirical Impacts of MPAs: Lessons from Econometrics,” International Marine Conservation Congress,
    George Mason University, May 2009

13. “Combining Property Rights and Landings Taxes to Mitigate the Ecological Impacts of Fishing,” AERE
    Session, Allied Social Science Associations Annual Meeting, San Francisco, CA, January 2009

14. “Towards an Econometric Foundation for Marine Ecosystem-based Management,” (Invited Lecture)
    Seventh William R. and Lenore Mote International Symposium, Spatial Dimensions of Fisheries: Putting it
    All in Place, November 2008

15. “Spatial assessment of a fish stock: a sorting method approach with commercial fishery data,” Seventh
    William R. and Lenore Mote International Symposium, Spatial Dimensions of Fisheries: Putting it All in
    Place, November 2008 (presented by L. Huang)

16. “Optimal Beach Nourishment with Strategic Interaction Between Adjacent Communities,” Camp Resources
    XV, Wilmington, NC, August 2008 (presented by S. Gopalakrishnan).

17. “Dynamic Modeling of Beach Management,” Triangle Resource and Environmental Economics Workshop,
    NCSU, September 27-28, 2007



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18. “Fishermen Behavior 101: What to fish for, with what, where, when, and how hard.” in Modeling Fisher
    Behavior: State of the Art, American Fisheries Society 137th Annual Meeting, San Francisco, CA September
    2007

19. “Sorting Models in Discrete Choice Fisheries Analysis,” (with J. Zhang), in Modeling Fisher Behavior:
    State of the Art, American Fisheries Society 137th Annual Meeting, San Francisco, CA September 2007

20. “Economic Modeling and the Dynamics of Coastal Change,”(with J.M. Slott, A.B. Murray, and S.
    Gopalakrishnan), in Economics of Beach Management and Coastal Hazard Mitigation, Organized
    Symposium, American Agricultural Economics Association, Portland, OR, July 2007

21. “Endogenous Fishing Mortality in Life History Models: Relaxing Some Implicit Assumptions,” Selected
    Paper, American Agricultural Economics Association, Portland, OR, July 2007

22. “Sorting Models in Discrete Choice Fisheries Analysis,” (with J. Zhang), Selected Paper, American
    Agricultural Economics Association, Portland, OR, July 2007

23. “Numerical Experiments in Empirical Spatial Fisheries Modeling,” The Role of Economics in Mitigating
    Unsustainability of Fisheries, Dealing with Ecosystems, Environmental Fluctuations, Governance, and
    Trade, Forum of the North American Association of Fisheries Economists, Mérida, Yucatán, México,
    March 27-30, 2007.

24. “Sorting Models in Discrete Choice Fisheries Analysis,” (with J. Zhang) The Role of Economics in
    Mitigating Unsustainability of Fisheries, Dealing with Ecosystems, Environmental Fluctuations,
    Governance, and Trade, Forum of the North American Association of Fisheries Economists, Mérida,
    Yucatán, México, March 27-30, 2007.

25. “Effects of Hypoxia on Fishery Productivity,” (with L. Huang) The Role of Economics in Mitigating
    Unsustainability of Fisheries, Dealing with Ecosystems, Environmental Fluctuations, Governance, and
    Trade, Forum of the North American Association of Fisheries Economists, Mérida, Yucatán, México,
    March 27-30, 2007.

26. “Endogenous Fishing Mortality in Life History Models: Relaxing Some Implicit Assumptions,” The Role of
    Economics in Mitigating Unsustainability of Fisheries, Dealing with Ecosystems, Environmental
    Fluctuations, Governance, and Trade, Forum of the North American Association of Fisheries Economists,
    Mérida, Yucatán, México, March 27-30, 2007.

27. “The Economics of Spatial-Dynamic Processes: Applications to Renewable Resources,” (with J.N.
    Sanchirico and J.E. Wilen), The Frontiers of Environmental Economics, Washington, D.C., February 26,
    2007, 1 of 9 papers selected out of 175 submissions

28. “Endogenous Fishing Mortality in Life History Models: Relaxing Some Implicit Assumptions,” Sixth
    William R. and Lenore Mote International Symposium: Life History in Fisheries Ecology and Management,
    Sarasota, FL, November 2006

29. “Bioeconometrics: Empirical Modeling of Bioeconomic Systems,” Selected Paper, Southern Economic
    Association Annual Meetings, AERE Sessions, Charleston, SC, November 2006

30. “Structural Econometric Modeling of Fisheries with Complex Life Histories: Avoiding Biological
    Management Failures,” Selected Paper, Camp Resources Conference, Wilmington, NC, August 2006

31. “Dynamic Harvest Strategies: Building a Stable Ecosystem,” (with L. Huang), Selected Paper, Camp
    Resources Conference, Wilmington, NC, August 2006, (presented by L. Huang)


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32. “Bioeconometrics: Empirical Modeling of Bioeconomic Systems,” Selected Paper, 3rd World Congress of
    Environmental and Resource Economics, Kyoto, Japan, July 2006

33. “Ecosystem Portfolios: A Finance-based Approach to Ecosystem Management,” (with J.N. Sanchirico and
    D.W. Lipton), Selected Paper, 3rd World Congress of Environmental and Resource Economics, Kyoto,
    Japan, July 2006

34. “Bioeconometrics: Empirical Modeling of Bioeconomic Systems,” Selected Paper, International Institute for
    Fisheries Economics and Trade Conference, Portsmouth, England, July 2006

35. “Ecosystem Portfolios: A Finance-based Approach to Ecosystem Management,” (with J.N. Sanchirico and
    D.W. Lipton), Selected Paper, International Institute for Fisheries Economics and Trade Conference,
    Portsmouth, England, July 2006

36. “Estimating a Generalized Gordon-Schaefer Model with Heterogeneous Fishing Data,” (with J. Zhang),
    Selected Paper, International Institute for Fisheries Economics and Trade Conference, Portsmouth, England,
    July 2006 (presented by J. Zhang)

37. “Bayesian Bioeconomics of Marine Reserves,” (with J. Zhang, and F.C. Coleman), Selected Paper,
    American Agricultural Economics Association Annual Meetings, Providence, RI, July 2005

38. “Ecosystem Portfolios: A Finance-based Approach to Ecosystem Management,” (with J.N. Sanchirico and
    D.W. Lipton), Selected Paper, Association of Environmental and Resource Economists 2005 Workshop:
    Natural Resources at Risk, Jackson, WY, June 2005

39. “A Hierarchical Bayes Approach to Discrete Choice Fisheries Modeling,” (with J. Zhang, and F.C.
    Coleman), Selected Paper, 2005 Forum of the North American Association of Fisheries Economists,
    Vancouver, BC Canada, May 2005

40. “Valuing Ecosystem Services with Fishery Rents,” (with L.B. Crowder), Selected Paper, 2005 Forum of the
    North American Association of Fisheries Economists, Vancouver, BC Canada, May 2005

41. “Empirical Approaches to Evaluate the Effectiveness of Marine Reserves for Fisheries Management” (with
    J. Zhang, and F.C. Coleman), AERE Sessions, Allied Social Science Associations Annual Meetings,
    Philadelphia, PA, January 2005

42. “Marine Reserves: The Importance of Economic and Biological Spatial Processes,” presented by J.E. Wilen
    and with J.N. Sanchirico, AERE Sessions, Allied Social Science Associations Annual Meetings,
    Philadelphia, PA, January 2005

43. “Do Marine Protected Areas Enhance Fisheries in the Gulf of Mexico?” (with J. Zhang, and F.C. Coleman)
    Camp Resources Conference, Wilmington, NC, August 2004

44. “Trophic Portfolios in Marine Fisheries,” (with J.N. Sanchirico), Selected Paper, American Agricultural
    Economics Association Annual Meetings, Montreal, Canada, July 2003

45. “Spatial Search in Marine Fisheries: A Discrete Choice Dynamic Programming Approach,” (with B.
    Provencher) AERE Workshop on Spatial Modeling, Madison, WI, June 2003 and Selected Paper, American
    Agricultural Economics Association Annual Meetings, Montreal, Canada, July 2003

46. “Limited Entry Licensing and Adaptive Management,” Selected Paper, International Institute for Fisheries
    Economics and Trade Conference, Wellington, New Zealand, August 2002


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47. “State Dependence and Heterogeneity in Fishing Location Choice,” (with J.E. Wilen), Selected Paper,
    International Institute for Fisheries Economics and Trade Conference, Wellington, New Zealand, August
    2002 (also presented at Camp Resources X, Wilmington, NC, August 2002 and a revised version presented
    at North American Association of Fisheries Economists, Williamsburg, VA, April 2003)

48. “Renewable Resource Production Surfaces, Bioeconomic Steady-states, and Space,” Selected Paper,
    American Agricultural Economics Association Annual Meeting, Long Beach, CA, July 2002

49. “Open Access and Missing Markets in Artisanal Fishing,”(with C. Liese and R.A. Kramer), Selected Paper,
    American Agricultural Economics Association Annual Meeting, Long Beach, CA, July 2002

50. “Economic Impacts of Marine Reserves: The Importance of Spatial Behavior,” (with J.E. Wilen), Long
    Selected Paper, 2nd World Congress of Environmental and Resource Economists, Monterey, June 2002

51. “Correlated Risk Preferences and Behavior of Commercial Fishermen: The Perfect Storm Dilemma,” (with
    J.E. Wilen), Long Selected Paper, 2nd World Congress of Environmental and Resource Economists,
    Monterey, June 2002

52. “Imperfect Testing of The Perfect Storm Hypotheses,” Selected Paper, Camp Resources IX, Wilmington,
    NC, August 2001

53. “Farming Benefits of Agro-Wildfowl Reserve Rotation in the Tule Lake Basin,” (with J.E. Wilen), Selected
    Paper, American Agricultural Economics Association Annual Meeting, Tampa, FL, August 2000

54. “A Bioeconomic Model of Spatial Policy Options,” (with J.E. Wilen), Selected Paper, American
    Agricultural Economics Association Annual Meeting, Tampa, FL, August 2000

55. “Spatial Search and Fishing Location Choice: Methodological Challenges of Empirical Modeling,”
    Principal Paper, American Agricultural Economics Association Annual Meeting, Tampa, FL, August 2000

56. “Two Econometric Approaches for Spatial Fisheries Management,” Selected Paper, International Institute
    for Fisheries Economics and Trade Conference, Corvallis, OR, July 2000

57. “Optimal Fisheries Management in the Presence of an Endangered Predator and Harvestable Prey,” (with
    J.D. Kaplan), Selected Paper, International Institute for Fisheries Economics and Trade Conference,
    Corvallis, OR, July 2000

58. “A Dynamic Spatial Model of Marine Reserve Formation: The California Red Sea Urchin Fishery,” (with
    J.E. Wilen), Fifth California Workshop on Environmental and Resource Economics, University of
    California, Santa Barbara, May 2000

59. “Breeding Incentives and the Demand for California Thoroughbred Racing: The Tradeoff Between Quality
    and Quantity,” Selected Paper, American Agricultural Economics Association Annual Meeting, Nashville,
    TN, August 1999

60. “Spatial Patterns of Renewable Resource Exploitation: The California Sea Urchin Fishery,” (with J.E.
    Wilen), Selected Paper, American Agricultural Economics Association Annual Meeting, Nashville, TN,
    August 1999

61. “Spatial Behavior of Harvesters in the California Sea Urchin Fishery,” (with J.E. Wilen), Fourth California
    Workshop on Environmental and Resource Economics, University of California, Santa Barbara, October
    1998


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Invited Lectures, Workshops, and Other Scholarly Presentations (does not include job talks)

1. “Economic Impacts of Hypoxia on Fisheries,” Invited Seminar in Life Sciences, Smith College, April 2012

2. “Growth overfishing and intra-seasonal fisheries models,” Invited Seminar, Economics Department,
   University of Calgary, April 2012

3. “Growth overfishing and intra-seasonal fisheries models,” Invited Seminar, Resources for the Future,
   September 9, 2011

4. “Growth overfishing and intra-seasonal fisheries models,” Invited Seminar, University of California, Davis,
   Department of Environmental Science and Policy, April 22, 2011

5. “Now that fisheries economists have what they want, what now? Growth overfishing and intra-seasonal
   fisheries models,” Invited Seminar, University of California, San Diego and NOAA Fisheries Southwest
   Fisheries Science Center, November 15, 2010

6. “Dynamic Decisions and Before/After Analyses of the Crab Rationalization,” NOAA Fisheries Alaska
   Fisheries Science Center Workshop on Bering Sea and Aleutians Islands Crab Fisheries Data Collection and
   Analysis, Seattle, WA, December 2009

7. “Economics of Coastlines and Beaches under Climate Change,” Norwegian University of Life Sciences,
   Department of Economics and Social Science ,September 2009

8. Instructor and Participant, Micro-econometric Modeling in Environmental and Resource Economics, EPA-
   sponsored Workshop, Washington DC, May 2009, presentation: Smith, M.D., “Discrete Choice in
   Renewable Resource Economics: Lessons from Simulation.”

9. “Beach Capital and Dynamic Coastal Management Strategies,” The Ohio State University, Department of
   Agricultural, Environmental, and Development Economics, January 2009

10. “Beach Capital and Dynamic Coastal Management Strategies,” Cornell University, Department of
    Agricultural and Applied Economics, October 2008

11. Invited Keynote Speaker, Workshop on Choice modeling: Producers and consumers reaction to policy
    changes in natural resource policy models, Centre for Fisheries & Aquaculture Management & Economics,
    University of Southern Denmark, June 2008

12. “Towards an Econometric Foundation for Marine Ecosystem-based Management,” Duke Marine Lab
    Speaker Series, April 2, 2008

13. Instructor, Spatial Bioeconomic Analysis of Coastal Fisheries, North American Association of Fisheries
    Economists 2007 Pre-forum Workshop, Mérida, Yucatán, México, March 27, 2007

14. “Endogenous Fishing Mortality in Life History Models: Relaxing Some Implicit Assumptions,” Center for
    Marine Sciences and Technology, NC State University, Morehead City, February 2, 2007

15. Participant, NCEAS Working Group on Property Rights in Fisheries, Santa Barbara, CA, February 2007,
    presentation: Smith, M.D., “Individualized Landings Taxes in an ITQ Fishery”

16. Instructor and Participant, Micro-econometric Modeling in Environmental and Resource Economics, EPA-



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    sponsored Workshop, Research Triangle Park, NC, Fall 2006, presentation: Smith, M.D., “Discrete Choice
    in Renewable Resource Economics”

17. “Structural Econometric Modeling of Fisheries with Complex Life Histories: Avoiding Biological
    Management Failures,” Invited Seminar, University of Stravanger, Stravanger, Norway, September 4, 2006
    (also presented at Department of Economics and Social Science, Norwegian University of Life Sciences,
    Ås, Norway, September 7, 2006; Centre for Ecological and Evolutionary Synthesis, Department of Biology,
    University of Oslo, Oslo, Norway, September 8, 2006)

18. “Structural Econometric Modeling of Fisheries with Complex Life Histories: Revisiting Biological Bias in
    Regulation,” Invited Seminar, Public Economics and Environmental Economics Workshop, Department of
    Economics, Stanford University, May 2, 2006 (also presented at UC Davis Department of Agricultural and
    Resource Economics Brown Bag Seminar, May 3, 2006)

19. Participant and Speaker, Sustainability of Deep-Sea Fisheries, Workshop Sponsored by the Marine
    Conservation Biology Institute, Miami, FL, May 2006, presentation: Smith, M.D., “Fisherman Behavior
    101: What to fish for, with what, where, when, and how hard”

20. “Bioeconometrics: Empirical Modeling of Bioeconomic Systems,” Invited Seminar, Resources for the
    Future, Washington D.C., March 16, 2006

21. “Using Financial Portfolio Analysis to Guide Ecosystem-Based Fishery Management,” Nicholas Institute
    Speaker Series, Duke University, March 2, 2006

22. “Bayesian Bioeconometrics of Marine Reserves,” J. Norman Efferson Lectures in Agricultural Economics,
    Louisiana State University, October 24, 2005 (also presented at Department of Economics Seminar Series,
    College of Business Administration, University of Central Florida, December 9, 2005)

23. “A Spatial Bioeconomic Model of Nutrient Pollution” 3rd Workshop on Spatial-Dynamic Models of
    Economics and Ecosystems, The Abdus Salam International Centre for Theoretical Physics, Trieste, Italy,
    April 11-13, 2005

24. “Valuing Ecosystem Services with Fishery Rents: A Lumped-Parameter Approach to Hypoxia in the Neuse
    River Estuary,” (with L.B. Crowder), Linking Economic and Ecological Models for Environmental Policy
    Analysis: Challenges and Research Strategies, NSF-EPA Biocomplexity Workshop, Santa Fe, NM, April
    17-19, 2005 (presented preliminary results at Triangle Environmental and Resource Economics Seminar,
    October 18, 2004)

25. “International Trade, Fisheries, and the Environment,” SIDG Annual Spring Conference, NSEES, Duke
    University, February 2004

26. “Fishing Behavior,” Environmental and Resource Economics Seminar Series, Department of Applied
    Economics, University of Minnesota, November 2003

27. Participant in “Spatial Fisheries Economic Modeling Workshop: Application to the Bering Sea Pollock
    Catcher Boat Fishery,” Seattle, WA, June 2003

28. “Incorporating Fisher Behavior into Management Models: A case study of the reef fish fishery of the eastern
    Gulf of Mexico,” NOAA Fisheries Southeast Fisheries Science Center, Miami FL, June 2003 (also
    presented at Florida Marine Research Institute, St. Petersburg FL, February 2004).

29. “Spatial Supply Response in Marine Fisheries,” Department of Agricultural and Resource Economics
    Seminar Series, University of Maryland, April 2003


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30. “Correlated Risk Preferences in Commercial Fishing,” Public Economics Seminar Series, Duke Economics
    Department, March 2003

31. “Economics of Marine Reserves: Lessons from Empirical Bioeconomics,” Invited Presentation, Spatial
    Models in Fisheries Economics Workshop, National Marine Fisheries Service, Silver Spring, MD, October
    2002

32. “Economic Impacts of Marine Reserves: The Importance of Spatial Behavior,” Invited Presentation,
    Environmental Institutions Seminar, Duke Center for Environmental Solutions, February 2002

33. “Testing of The Perfect Storm Hypotheses: Behavioral Modeling of Commercial Fishing,” Invited
    Presentation, Duke Marine Lab Speaker Series, September 2001 (also presented at Nicholas School of the
    Environment and Earth Sciences Graduate Afternoon Seminar, October 2001)

34. “Betting on a Long-shot: Breeding Incentives and Demand for Thoroughbred Racing in California,”
    Department of Agricultural and Resource Economics Brown Bag Seminar Series, University of California,
    Davis, April 1999

35. “Spatial Behavior of Harvesters in the California Sea Urchin Fishery,” (with J.E. Wilen), Department of
    Agricultural and Resource Economics Brown Bag Seminar Series, University of California, Davis,
    November 1998

Public Outreach

1. “Value and Non-market Value in Fisheries,” Fisheries Forum (presentation to fishery managers), Co-
   sponsored by Nicholas Institute and Stanford Center for Ocean Solutions, Beaufort, NC, May 9, 2012

2. Presentation to current and future fisheries managers, “Are fisheries turning the corner?” Nicholas Institute,
   Durham, NC, April 9, 2012

3. Presentation to Duke Meatless Mondays Group, “Let’s Talk about Fish,” October 24, 2011

4. Public testimony before the Gulf of Mexico Fishery Management Council, Mobile, AL, March 22, 2006

5. Prepared presentation for commercial fishermen of results from ‘Incorporating Fisher Behavior into
   Management Models: A case study of the reef fish fishery in the Gulf of Mexico,’ Apalachicola, FL,
   December 13, 2005 (presented by Felicia C. Coleman)

6. Presentation at Fisherman Stakeholder Meeting: Smith, M.D. and F.C. Coleman, “Incorporating Fisher
   Behavior into Management Models,” Appalachicola FL, March 11, 2004

7. Presentation at Fisherman Stakeholder Meeting: “Economic Issues in the California Sea Urchin Fishery,”
   (with J.E. Wilen), Sea Urchin Workshop, Santa Barbara, CA, June 1999




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                 Appendix B: Additional Discussion of IFQs and Discount Rates

The trade in IFQs provides unique insight into fishermen’s perceptions of the future value of a
fishery and the inherent riskiness associated with fishing for that species. Data on quota prices
and quota allocation trade prices are available for a variety of IFQ species, but historical
information is available only for red snapper. The available data allow for some useful
comparisons.

First, the ratio of quota allocation trade price (a measure of the flow of quota rent – in effect the
price for using the current year’s allocation of the quota) to quota price (a measure of the
capitalized value of quota rent – in effect the price to purchase a perpetual right to a share of the
quota over time) is a measure of the capitalization rate. This reflects a conversion from the
current flow of value to the present value of all future flows. By analogy, the rent on an
investment property is the flow of value, and the sales price of the property is the stock of value.
The capitalization rate can be thought of as a proxy for the discount rate for finfish fisherman.
Ownership of a real asset entitles the owner to all future flows of value. The present value of a
perpetuity of flows, which should equal the asset price, is the flow rate divided by the discount
rate. Thus, the discount rate and capitalization rate are analogous.

This capitalization rate has trended downward since the inception of the red snapper program
(Exhibit 9), and is consistent with academic studies that find that the capitalization rates for IFQ
fisheries decline as programs get established and there is market experience with quota trading.1
The decline may also reflect some decline in real interest rates and market expectation of
changes in fisheries policies.

Second, even after substantial market experience, the capitalization rate for red snapper remains
high and may reflect the riskiness of commercial fishing. Subtracting 1.5 percent from the 2010
mean capitalization rate for red snapper to account for the 2010 rate of inflation yields a real
discount rate of 14.9 percent (Exhibit 9), the highest real discount rate considered in Exhibit 2.
What is also noteworthy in these calculations is that property rights are by definition more secure
in IFQ fisheries than in many other fisheries that lack this institutional arrangement to allocate
1
 Newell, Richard G., Sanchirico, James N., and Suzi Kerr, “Fishing quota markets,” Journal of Environmental
Economics and Management, Vol. 49, 2005, pp. 437-462; and, Newell, Richard G., Papps, Kerry L., and James N.
Sanchirico, “Asset pricing in created markets,” American Journal of Agricultural Economics, Vol. 89, 2007, pp.
259-272.



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common-pool resources. Thus, we would expect non-IFQ fisheries with otherwise similar
characteristics to red snapper to embody even more risk.

Third, the implied capitalization rates for other IFQ fisheries are similar to the rate for red
snapper in 2007, the first year of the red snapper program (Exhibit 9). On the one hand, the high
capitalization rate for groupers and tilefish could reflect some expectations about future harm.
But on the other hand, they are not out of line with the initial experiences in the red snapper
program before the fishery had market experience with IFQs.

Overall, IFQ pricing data provide interesting insight into the inherent riskiness of fishing and
support the appropriateness of relatively high discount rates when considering the fishing of IFQ
species in particular and non-IFQ species in general. As discussed in Section IV, when
considering these higher discount rates, the $2.3 billion amount established in the SCP is
substantially more than adequate to compensate any losses experienced by SCP claimants.




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                                                Exhibit 1
              Average 2007 - 2009 Revenue and Difference between 2010 Revenues and
              2007 - 2009 Average Annual Revenues for Fisheries Included in the SCP,
                                    Compared to SCP Amount

                                                                        Difference between 2010
                             2010 Revenue    2007 - 2009 Avg.        Revenues and 2007 – 2009 Avg.
                                      a
                               (MM $)        Revenue (MM $)a          Annual Revenues (MM $)1, a
Shrimp                                  $242              $265                                  $23
Oyster                                   $52               $66                                  $14
Blue Crab                                $40               $42                                   $3
Finfish                                  $55               $70                                  $15
                         2
All Other Gulf Species                   $43                  $34
Total                                   $431                 $476                               $55
Multiple to Arrive at SCP
                                          5.3                  4.8                              41.9
Amount ($2,300 MM)

Notes:
[1] "Difference between 2010 Revenues and 2007 - 2009 Avg. Annual Revenues" is based on "2010
Revenue" compared to "2007 - 2009 Avg. Revenue."
[2] All other gulf species "2010 Revenue" was greater than the "2007 - 2009 Avg. Revenue."

Sources:
[a] NOAA ALS county-level data.
[b] "Seafood Compensation Program," Exhibit 10 of Deepwater Horizon Economic and Property Damages
Settlement Agreement as Amended on May 2, 2012, p. 3.
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                                    Exhibit 2
            Average Annual Gulf Landing Revenues in Perpetuity in Class
                          Geographies vs. SCP Amount

          SCP Amount (MM $)1,a                                     $2,300
                                                       2,b
          Average Annual Revenues 2007 - 2009 (MM $)                 $476
          Revenues in Perpetuity (MM $) 3,4
              Discount Rate = 4.5%                                $10,578
              Discount Rate = 7.0%                                 $6,800
              Discount Rate = 9.5%                                 $5,011
              Discount Rate = 12.0%                                $3,967
              Discount Rate = 14.9%                                $3,190
          SCP Amount as a Percentage of Revenues in
                     4,5
          Perpetuity
              Discount Rate = 4.5%                                   22%
              Discount Rate = 7.0%                                   34%
              Discount Rate = 9.5%                                   46%
              Discount Rate = 12.0%                                  58%
              Discount Rate = 14.9%                                  72%
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                                         Exhibit 2
                                     Notes and Sources

          Notes:
          [1] "SCP Amount" is the amount that vessel owners, captains, and crew
          will receive as a result of the Seafood Compensation Plan through initial
          distributions by the Court-Appointed Neutral and secondary pro-rata
          distributions.
          [2] "Average Annual Revenues 2007 - 2009" is the average annual
          revenue for shrimp, oyster, blue crab, finfish, and other fisheries
          included in the SCP.
          [3] "Revenues in Perpetuity" is calculated by dividing the "Average
          Annual Revenues 2007 - 2009" by the "Discount Rate." This assumes
          that future annual revenues can be approximated by the 2007 - 2009
          average.
          [4] The Office of Management and Budget (OMB) uses a real discount
          rate of 7.0 percent for benefit-cost analysis. Discount rates of 9.5 and
          12.0 percent were used to account for the generally riskier nature of the
          fishing industry. The discount rate of 14.9 percent was chosen to reflect
          the 16.4 percent 2010 discount rate implied by the analysis of the
          Individual Fishing Quota program in the Gulf for Red Snapper
          (Declaration of Martin D. Smith, Exhibit 9), subtracting the 1.5 percent
          rate of inflation in 2010 (calculated using the Bureau of Labor Statistics
          All Urban Consumer Price Index).
          [5] "SCP Amount as a Percentage of Revenues in Perpetuity" is
          calculated as the "SCP Amount" divided by the "Average Revenues in
          Perpetuity."

          Sources:
          [a] "Economic and Property Damages Settlement, Medical Settlement,"
          Class Presentation, p. 34.
          [b] NOAA ALS county-level data.
          [c] "Circular No. A-94 Revised: Guidelines and Discount Rates for
          Benefit-Cost Analysis of Federal Programs," Office of Management and
          Budget, October 29, 1992, available at
          http://www.whitehouse.gov/omb/circulars_a094#7.
          [d] "Consumer Price Index, All Urban Consumers - (CPI-U)," U.S.
          Department of Labor, Bureau of Labor Statistics, available at
          ftp://ftp.bls.gov/pub/special.requests/cpi/cpiai.txt.
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                                                                                                                    Exhibit 3
                                                                                          Value and Volume of Landings in Class Geographies: 2007 - 2010

                                                    Shrimp                                         Oyster                                    Blue Crab                                    Finfish1,b                          All Other Gulf Species2,b
          Year                        MM lbs           MM $           $/lb           MM lbs        MM $            $/lb          MM lbs        MM $            $/lb          MM lbs        MM $            $/lb            MM lbs        MM $           $/lb
          2007                        180.74          $277.64        $1.54            21.39        $65.99         $3.08           56.03        $44.48         $0.79           50.24        $69.89         $1.39             9.89         $41.89       $4.24
          2008                        148.46          $271.36        $1.83            20.21        $58.84         $2.91           47.74        $38.43         $0.81           53.62        $70.32         $1.31             8.87         $33.13       $3.73
          2009                        194.02          $245.67        $1.27            22.42        $72.13         $3.22           60.07        $44.33         $0.74           55.34        $68.36         $1.24             8.07         $25.92       $3.21
          2010                        135.10          $241.50        $1.79            14.81        $51.62         $3.49           39.64        $39.78         $1.00           45.12        $54.70         $1.21             8.52         $43.31       $5.08
   Avg. 2007 - 2009                   174.40          $264.89        $1.52            21.34        $65.66         $3.08           54.61        $42.41         $0.78           53.07        $69.52         $1.31             8.94         $33.64       $3.76
  % Change from Avg.
                                      -22.5%           -8.8%         17.7%           -30.6%        -21.4%        13.3%           -27.4%         -6.2%        29.2%           -15.0%        -21.3%        -7.5%               -4.7%           28.7%        35.1%
  2007 - 2009 to 2010


Notes:
[1] Finfish include the following species: African Pompano, Albacore Tuna, Alewife, Almaco Jack, Amberjack, Anchor Tilefish, Anchovy, Angelfishes, Anglerfish, Atlantic Angle Shark, Atlantic Bonito, Atlantic Croaker, Atlantic Cutlassfish, Atlantic Moonfish,
Atlantic Needlefish, Atlantic Sharpnose Shark, Atlantic Sheepshead, Atlantic Summer Flounder, Atlantic Thread Herring, Ballyhoo, Banded Rudderfish, Bank Sea Bass, Bar Jack, Barracuda, Barrelfish, Bat Ray, Bearded Brotula, Bigeye, Bigeye Scad, Bigeye Tuna,
Bignose Shark, Black Atlantic Sea Bass, Black Bellied Rosefish, Black Driftfish, Black Drum, Black Grouper, Black Jack, Black Snapper, Blackfin Snapper, Blackfin Tuna, Blackline Tilefish, Blacknose Shark, Blacktip Shark, Blue Runner, Blue Shark, Bluefin Tuna,
Bluefish, Blueline Tilefish, Bonito Shark, Bonnethead Shark, Bull Shark, Butterfish, Caribbean Red Snapper, Chub Mackerel, Cobia, Coney, Creole-Fish, Crevalle, Crimson Rover, Cubera Snapper, Cusk, Dog Snapper, Dogfish Collared Shark, Dogfish Shark,
Dolphinfish, Drums, Dusky Shark, Escolar, Filefish, Fins Shark, Finetooth Shark, Finfishes for Bait and Animal Food, Finfishes for Food, Atlantic & Gulf Flounder, Fluke Atlantic Flounder, Flyingfishes, Frigate Mackerel, Gag Grouper, General Finfishes, Giant Bluefin
Tuna, Gizzard Shad, Glasseye Snapper, Goatfishes, Goldface Tilefish, Gray Sea Trout, Gray Snapper, Gray Triggerfish, Graysby, Great Hammerhead Shark, Greater Amberjack, Groupers, Grunts, Gulf Butterfish, Hammerhead Shark, Harvestfish, Herrings, Hogfish,
Horse-Eye Jack, Jacknife Fish, Jacks, Jewfish, Jolthead Porgy, King Mackerel, King Whiting, Knobbed Porgy, Lane Snapper, Large Butterfish, Large Haddock, Large Red Porgy, Lemon Shark, Lesser Amberjack, Little Tunny Tuna, Littlehead Porgy, Longfin Mako
Shark, Longspine Porgy, Longtail Bass, Lookdown, Mahogony Snapper, Mangrove Snapper, Marbled Grouper, Margate, Misty Grouper, Mojarras, Mullets, Mutton Snapper, Nassau Grouper, Night Shark, Ocean Triggerfish, Oilfish, Opah, Other Marine Finfishes,
Parrotfish, Permit, Pigfish, Pinfish, Pomfrets, Pompano, Porbeagle Shark, Puffers, Queen Snapper, Queen Triggerfish, Rainbow Runner, Red & White Atlantic Hake, Red Drum, Red Grouper, Red Hind, Red Porgy, Red Snapper, Rock Hind, Rock Sea Bass, Roe Red
Mullet, Roe White Mullet, Round Herring, Rudderfish, Sand Perch, Sand Tiger Shark, Sand Tilefish, Sandbar Shark, Scads, Scads (Except Bigeye), Scamp, Schoolmaster Snapper, Scomber Mackerel, Scorpionfishes, Sculpins, Scups or Porgies, Sea Catfish, Sea Robins,
Shad, Shark, Sheepshead, Sierra, Silk Snapper, Silky Shark, Silver Mullet, Skipjack Tuna, Small Gray Sea Trout, Smooth Dogfish Shark, Snappers, Snowy Grouper, Spadefish, Spanish Flag, Spanish Mackerel, Spanish Sardine, Speckled Hind, Spinner Shark,
Spinycheek Scorpionfish, Spot, Spotted Scorpionfish, Spotted Sea Trout, Squirrelfishes, Striped Mullet, Surgeonfishes, Swordfish, Tenpounder, Thornyhead Scorpionfish, Threadfin Shad, Thresher Shark, Tiger Shark, Tilefish, Triggerfishes, Tripletail, Tuna, Vermilion
Snapper, Wahoo, Warsaw Grouper, Wenchman, White Sea Trout, Whitebone Porgy, Yellowedge Grouper, Yellowfin Grouper, Yellowfin Tuna, Yellowmouth Grouper, and Yellowtail Snapper.
[2] All Other Gulf Species include the following species: American Eel, Button Clam, Callico Scallop, Cherry Clam, Chowder Clam, Conger Eel, Crab, Cusk Eel, Eels, Golden Grab, Grass Sponge, Inshore Hard Clam, Horshoe Crab, Jellyfish, Jumbo Claws Stone
Crab, Larges Claw Stone Crab, Littleneck Atlantic Clam, Mantis Shrimp, Medium Claws Stone Crab, Middleneck Atlantic Clam, Morays Eel, Octopus, Other Shellfish, Rays, Red Crab, Sea Cucumber, Sea Urchins, Sheepswool Sponge, Skates, Slipper Lobster,
Small Claws Stone Crab, Snails, Snake Eel, Spiny Lobster, Sponges, Squids, Stingrays, Stone Crab, Topnecks Atlantic Clam, and Yellow Sponge. It also excludes Menhaden.

Sources:
[a] NOAA ALS county-level data.
[b] The following Gulf species were classified into either "Finfish" or "All Other Gulf Species" using the following sources. Alewife, available at http://www.dnr.state.md.us/fisheries/fishfacts/herring.asp; Coney, available at
http://www.fishbase.org/summary/Cephalopholis-fulva.html; Crimson Rover, available at http://www.wlf.louisiana.gov/sites/default/files/pdf/page_licenses/32450-Trip%20Tickets/ttmanual10_august2010.pdf; Large Haddock, available at
http://www.nefsc.noaa.gov/sos/spsyn/pg/haddock/; Longtail Bass, available at http://www.wlf.louisiana.gov/sites/default/files/pdf/page_licenses/32450-Trip%20Tickets/ttmanual10_august2010.pdf; Opah, available at
http://www.wlf.louisiana.gov/sites/default/files/pdf/page_licenses/32450-Trip%20Tickets/ttmanual10_august2010.pdf; Permit, available at http://www.fishbase.org/summary/SpeciesSummary.php?id=1010; Sculpins, available at
http://www.wlf.louisiana.gov/sites/default/files/pdf/page_licenses/32450-Trip%20Tickets/ttmanual10_august2010.pdf; Sea Robins, available at http://www.britannica.com/EBchecked/topic/530708/sea-robin; Skates, available at
http://www.nefsc.noaa.gov/sos/spsyn/op/skate/; Spanish Flag, available at http://www.wlf.louisiana.gov/sites/default/files/pdf/page_licenses/32450-Trip%20Tickets/ttmanual10_august2010.pdf; Sheepswool Sponge, available at
http://coris.noaa.gov/activities/deepsea_coral/dsc_strategicplan.pdf; and Tenpounder, available at http://www.wlf.louisiana.gov/sites/default/files/pdf/page_licenses/32450-Trip%20Tickets/ttmanual10_august2010.pdf.
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                                                                               Exhibit 4
                                        An Illustration of the Compounding Effects of Factors in the Seafood Compensation Plan
                                                             Example: 45-74 Foot Shrimping Vessel (Freezer)

                                                                                               Factors in Base Compensation Calculation1
                                                   Assumed Baseline      Price Adjustment      Cost Adjustment Loss Adjustment        Resulting Base Shrimp Loss per Dollar of
                                                       Revenue2               Factor3               Factor4           Factor5                    Baseline Revenue6
Values Based on Historical Dataa                        $1.00                  17.7%                 52.7%             22.5%                           $0.15
Values Based on Seafood Compensation Planb              $1.00                  20.0%                 42.0%             35.0%                           $0.27

                                                           [A]                   [B]                   [C]                  [D]             [E] = { [A] * (1 + [B]) - [A] * [C] } * [D]
           7
Difference                                                0.0%                  2.3%                 10.7%                12.5%                               86.6%

Notes:
[1] This example is calculated under the assumption that (i) the Claimant is a Vessel Owner/Commercial Fisherman Vessel Lessee or (ii) the Claimant is a Boat Captain. The "Assumed
Baseline Revenue" was calculated using trip tickets or their equivalents.
[2] Indexed to one dollar for illustration purposes.
[3] "Price Adjustment Factor" is the percentage of "Assumed Baseline Revenue" added to "Assumed Baseline Revenue" to reflect the change in prices between the pre- and the post-
Deepwater Horizon incident periods. For "Values Based on Seafood Compensation Plan," the "Price Adjustment Factor" is defined in the Seafood Compensation Plan as the
adjustment for changes in 2010 - 2011 prices. For "Values Based on Historical Data," the "Price Adjustment Factor" is the change in 2010 shrimp prices compared to the average of
2007 - 2009 shrimp prices. (Declaration of Martin D. Smith, Exhibit 3.)
[4] "Cost Adjustment Factor" is the percentage of baseline revenue subtracted from price adjusted revenue to calculate profit. For "Values Based on Seafood Compensation Plan," the
"Cost Adjustment Factor" is defined in the Seafood Compensation Plan as the standard industry non-labor variable costs. For "Values Based on Historical Data," the "Cost Adjustment
Factor" is the average of 2006 - 2008 non-labor variable costs for 50-74 foot vessels. (Declaration of Martin D. Smith, Exhibit 6.)
[5] "Loss Adjustment Factor" is the percentage of profit that reflects the change in the volume of shrimp landings. For "Values Based on Seafood Compensation Plan," the "Loss
Adjustment Factor" is specified as 35 percent. For "Values Based on Historical Data," the "Loss Adjustment Factor" is the change in the volume of shrimp landings in 2010 from the
average of 2007 - 2009. (Declaration of Martin D. Smith, Exhibit 3.)
[6] "Resulting Base Shrimp Loss Per Dollar of Baseline Revenue" is the compensation for $1.00 of Baseline Revenue after taking into account the price, cost, and loss adjustment
factors. In the Seafood Compensation Plan, the assumed baseline is multiplied by an additional catch factor before being multiplied by the price adjustment factor. This additional catch
factor varies by vessel size, and for the 45-74 foot vessel (Freezer), the additional catch factor is five percent.
[7] Positive numbers are favorable to the plaintiffs.
[8] The differences between SCP and historical factors can be due to a variety of factors, which include adjustments for expected differences in items such as fuel prices as well as the
desire to choose a number that is likely appropriate for all claimants in the SCP.

Sources:
[a] Liese, Christopher, Travis, Michael D., and James R. Waters, "The Annual Economic Survey of Federal Gulf Shrimp Permit Holders: Implementation and Descriptive Results for
2007," NOAA, July 2009, p. 89; Liese, Christopher and Michael D. Travis, "The Annual Economic Survey of Federal Gulf Shrimp Permit Holders: Implementation and Descriptive
Results for 2008," NOAA, Mar 2010, p. 91; Declaration of Martin D. Smith, Exhibit 3; and, Declaration of Martin D. Smith, Exhibit 6.
[b] "Seafood Compensation Program," Exhibit 10 of Deepwater Horizon Economic and Property Damages Settlement Agreement as Amended on May 2, 2012, pp. 22-23.
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                                                                                                  Exhibit 5
                                                     Active Gulf Shrimp Non-Labor and Labor Variable Costs as Percentages of Revenue by Fleet Vessel Length

                                    Gulf States                                                                                Federal Offshore Surveys
                                    Survey, All
                                       Sizes                           Less than 50 feet                                              50-74 feet                                                75-99 feet
                                      2008a              2006b        2007c         2008d        Average1          2006b          2007c       2008d        Average1           2006b        2007c         2008d       Average1
                       2
Avg. Shrimp Revenue                     $35,927           $77,617      $52,444       $57,569       $62,543         $198,494       $154,011    $176,301      $176,269          $336,886     $319,217      $367,112     $341,072
                       3
Avg. Fishing Revenue                    $42,887           $78,681      $54,043       $65,075       $65,933         $201,039       $154,436    $176,802      $177,426          $338,024     $319,372      $367,345     $341,580
Avg. Total Costs4                       $43,950           $70,980      $63,450       $62,982       $65,804         $203,197       $170,584    $180,688      $184,823          $355,276     $345,319      $385,334     $361,976
Non-Labor Variable Costs as a
                                          45.8%            33.3%         41.4%        45.9%         40.2%             49.3%         56.2%          53.7%      53.1%              57.7%        59.7%          62.6%       60.0%
Percentage of Shrimp Revenue 5
Non-Labor Variable Costs as a
                                          38.4%            32.9%         40.2%        40.6%         37.9%             48.7%         56.0%          53.5%      52.7%              57.5%        59.6%          62.6%       59.9%
Percentage of Fishing Revenue 6
 Fuel                                     29.4%            22.7%         26.3%        28.9%         26.0%             37.5%         42.7%          42.8%      41.0%              50.3%        50.9%          55.7%       52.3%
 Ice7                                      2.8%              2.9%                                                      1.5%                                                       0.4%
 Other supplies                            6.2%              7.3%        13.9%        11.7%         11.0%              9.7%         13.3%          10.7%      11.2%               6.8%         8.7%          6.9%          7.5%
Labor Variable Costs as a
                                          21.3%            37.7%         49.2%        42.4%         43.1%             48.7%         59.0%          53.1%      53.6%              47.4%        52.6%          52.9%       51.0%
Percentage of Fishing Revenue 8
Number of Survey Vessels 9                   313                 34           48            57                           195           169           172                           157           171           154

Notes:
[1] "Average" is the average value by vessel size for 2006 through 2008.
[2] "Avg. Shrimp Revenue" is the average revenue derived from commercial shrimping operations per vessel and does not include revenue from bycatch.
[3] "Avg. Fishing Revenue" is the average revenue derived from commercial shrimping operations per vessel, including revenue from bycatch.
[4] "Avg. Total Costs" is the average variable and fixed costs per vessel.
[5] "Non-Labor Variable Costs as a Percentage of Shrimp Revenue" is represented as the average costs for fuel and oil, ice, and/or other supplies as a percentage of average shrimp revenue.
[6] "Non-Labor Variable Costs as a Percentage of Fishing Revenue" is represented as the average costs for fuel and oil, ice, and/or other supplies as a percentage of average fishing revenue.
[7] "Ice" expenses are only available for 2006 NOAA and 2008 Gulf States Marine Fisheries Commission survey results as a separate category. For all other surveys, costs for ice are included in "Other Supplies."
[8] "Labor Variable Costs as a Percentage of Fishing Revenue" is calculated to be the average costs associated with hiring a captain and crew as a percentage of average fishing revenue, less average non-labor variable costs.
[9] "Number of Survey Vessels" is the number of active shrimp vessels operating in the Gulf for which survey data are available.
[10] Survey data are publicly available for 2009; however, the data are not broken out by vessel size.

Sources:
[a] Miller, Alexander and Jack Isaacs, "An Economic Survey of the Gulf of Mexico Inshore Shrimp Fishery: Implementation and Descriptive Results for 2008", Gulf States Marine Fisheries Commission, September 2011,
pp. 43-44.
[b] Liese, Christopher, Travis, Michael D., and James R. Waters, "The Annual Economic Survey of Federal Gulf Shrimp Permit Holders: Report on the Design, Implementation, and Descriptive Results for 2006," NOAA,
January 2009, pp. 82-83.
[c] Liese, Christopher, Travis, Michael D., and James R. Waters, "The Annual Economic Survey of Federal Gulf Shrimp Permit Holders: Implementation and Descriptive Results for 2007," NOAA, July 2009, pp. 88-89.
[d] Liese, Christopher, Travis, Michael D., and James R. Waters, "The Annual Economic Survey of Federal Gulf Shrimp Permit Holders: Implementation and Descriptive Results for 2008," NOAA, March 2010, pp. 90-91.
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                                            Exhibit 6
            Gulf Shrimp Non-Labor Variable Costs as Percentages of Revenue
                                  By Vessel Length

                                          Gulf Shrimp Cost Percentages 1
                                Seafood
            Vessel Length     Compensation         Federal Survey        Gulf States
                (Feet)           Plana               Average 2,b          Survey3,c
                         <30     42.0%
                       30-44     39.0%                                      38.4%
                         <50                             37.9%
                  45-74 (Ice)    39.0%
             45-74 (Freezer)     42.0%
                       50-74                             52.7%
                    75+ (Ice)    54.0%
               75+ (Freezer)     52.0%
                       75-99                             59.9%

          Notes:
          [1] "Gulf Shrimp Cost Percentages" is the non-labor variable costs as a
          percentage of revenue derived from commercial shrimping operations,
          including bycatch.
          [2] "Federal Survey Average" is the average of 2006 through 2008 non-
          labor variable costs as a percentage of fishing revenue, including bycatch,
          for the vessel length classes for which survey data are publicly available.
          Costs by vessel length for 2009 are not publicly available.
          [3] "Gulf States Survey" is the non-labor variable costs as a percentage of
          fishing revenue, including bycatch, for all vessels. The costs are not
          available by vessel size, but the average vessel size in the survey is 35 feet.
          The corresponding non-labor variable cost as a percentage of shrimp
          revenue alone is 45.8 percent.

          Sources:
          [a] “Seafood Compensation Program,” Exhibit 10 of Deepwater Horizon
          Economic and Property Damages Settlement Agreement as Amended on
          May 2, 2012, p. 22.
          [b] Liese, Christopher, Travis, Michael D., and James R. Waters, "The
          Annual Economic Survey of Federal Gulf Shrimp Permit Holders: Report
          on the Design, Implementation, and Descriptive Results for 2006,"
          NOAA, January 2009, pp. 82-83; Liese, Christopher, Travis, Michael D.,
          and James R. Waters, "The Annual Economic Survey of Federal Gulf
          Shrimp Permit Holders: Implementation and Descriptive Results for
          2007," NOAA, July 2009, pp. 88-89; and Liese, Christopher, Travis,
          Michael D., and James R. Waters, "The Annual Economic Survey of
          Federal Gulf Shrimp Permit Holders: Implementation and Descriptive
          Results for 2008," NOAA, March 2010, pp. 90-91.
          [c] Miller, Alexander and Jack Isaacs, "An Economic Survey of the Gulf
          of Mexico Inshore Shrimp Fishery: Implementation and Descriptive
          Results for 2008", Gulf States Marine Fisheries Commission, September
          2011, pp. 43-44.
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                  Smith Declaration
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                                                                                                          Exhibit 7
                                                                            Total Shrimp Landings in the Gulf (AL, LA, MS, Western FL, and TX)
                                            30                                         In Millions of Pounds, January 2002 - June 2012                                                                                180
                                                                                                                                                                                             Deepwater Horizon Oil
                                                                                                                                                                                             Spill (April 20, 2010)
                                                                                                                                 153                                                                                  160




                                                                                                                                                                                                                                     ual Pounds of Shrimp (April - March, Millions)
                                                                             146              148
                                            25
Total Monthly Pounds of Shrimp (Millions)




                                                            135                                                                                                                                                       140
                                                                                                                                                                                   130
                                                                                                                125                               124
                                                                                                                                                                                                            119
                                            20                                                                                                                                                                        120

                                                                                                                                                                    102
                                                                                                                                                                                               95
                                                                                                                                                                                                                      100
                                            15
                                                                                                                                                                                                                      80


                                            10                                                                                                                                                                        60




                                                                                                                                                                                                                            Total Annu
T




                                                                                                                                                                                                                      40
                                             5
                                                                                                                                                                                                                      20


                                             0                                                                                                                                                                        0



                                                                                                                                       Month

                                             Note:
                                                                                                                      Total            Annual Pounds (April - March)
                                             Annual pounds of shrimp are calculated as the total pounds of shrimp from April of the current year to March of the following year.

                                             Source:
                                             "Fishery Market News Archive," NOAA Fisheries: Office of Science & Technology, available at http://www.st.nmfs.noaa.gov/st1/market_news/archives/index.html.
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                                             Exhibit 8
               Gulf Oyster Non-Labor and Labor Variable Costs as Percentages of Revenue

                                                                                 1
                                                          Survey and Pricing Data
                                                     2003 - 2004             2007 - 2009
                                                      Average                 Average
                                            a
          2003 - 2004 Survey-Based Data
            Avg. Sacks Harvested (sacks/trip)                   52.2
            Avg. Crew Costs ($/trip)                         $189.05
                                      2,3
            Avg. Captain Costs ($/trip)                      $372.22
            Avg. Other Supply Costs ($/trip)                  $33.12
            Avg. Fuel Use (gal./trip)                           39.0
                              3
            Survey Responses                                    349
          Pricing Data
                                      4,a,b,c
            Diesel Fuel Price ($/gal.)                         $1.26                   $2.55
                                              5,d
            Avg. Sales Price/Sack ($/sack)                    $16.69                  $23.54
          Avg. Variable Cost/Sack ($/sack)6,a,e               $12.32                  $14.87
          Non-Labor Variable Costs as a
                                  7                            9.4%                   11.2%
          Percentage of Revenue
            Fuel                                               5.6%                       8.1%
            Other Supplies8                                    3.8%                       3.1%
          Labor Variable Costs as a Percentage of
                                                              71.1%                   58.5%
          Revenue9,e
            Crew                                              24.0%                   19.7%
            Captain2                                          47.2%                   38.8%
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                                                    Exhibit 8
                                                Notes and Sources

          Notes:
          [1] The "2003 - 2004 Average" column uses only 2003 - 2004 survey data. The "2007 - 2009
          Average" column adjusts the 2003 - 2004 survey data to account for changes in costs, such as
          fuel, other supplies, and labor costs.
          [2] "Avg. Captain Costs" for owner-operated vessels are calculated by assuming the same
          average hourly rate as hired captains.
          [3] "Survey Responses" is the total number of captains of oyster harvesting vessels who were
          interviewed in Louisiana between 2003 and 2004. All data use the 268 responses deemed by
          the survey authors to have sufficient data to allow for statistical analysis, except "Avg.
          Captain Costs," which rely on the 126 responses from hired captains.
          [4] The 2003 - 2004 Average Diesel fuel Price is based on survey data. Appropriate federal,
          state, and local taxes were removed from the weighted average on-highway diesel price for
          the U.S. Gulf coast to calculate the "Diesel Fuel Price" for 2007 - 2009.
          [5] "Avg. Sales Price/Sack" is reported with a one year delay in the subsequent annual report.
          [6] "Avg. Variable Cost/Sack" is the sum of average crew, captain, fuel, and supply costs per
          trip divided by the average number of sacks harvested per trip. Fuel costs per trip are
          calculated by multiplying the average fuel use per trip by the appropriate fuel price. The costs
          for crew, captain, and supplies from the 2003 - 2004 survey were adjusted for inflation to
          calculate 2007 - 2009 costs (using the Bureau of Labor Statistics All Urban Consumer Price
          Index). The number of harvested sacks and average fuel use per trip from the 2003 - 2004
          survey were assumed to be the same in 2007 - 2009.
          [7] "Non-Labor Variable Costs as a Percentage of Revenue" is represented as the average
          costs for fuel and supplies per sack of oysters as a percentage of average sack price.
          [8] "Other Supplies" includes groceries, ice, and other items purchased for the trip. The per
          sack 2003 - 2004 costs were adjusted for inflation to calculate 2007 - 2009 costs (using the
          Bureau of Labor Statistics All Urban Consumer Price Index).
          [9] "Labor Variable Costs as a Percentage of Revenue" is calculated to be the average cost
          associated with hiring a captain and crew per sack as a percentage of the average sack price,
          less average non-labor variable costs per sack. The 2003 - 2004 survey per sack labor costs
          were adjusted for inflation to calculate 2007 - 2009 labor costs (using the Bureau of Labor
          Statistics All Urban Consumer Price Index).

          Sources:
          [a] Kazmierczak, Richard F. and Walter Keithly, Jr., "The Costs of Harvesting Oysters from
          Private Leases in Louisiana," Final Report to the Louisiana Department of Natural Resources,
          January 13, 2005, pp. 1-8.
          [b] On-Highway annual Diesel prices from "Gasoline and Diesel Fuel Update," EIA,
          available at http://www.eia.gov/dnav/pet/pet_pri_gnd_dcus_nus_a.htm.
          [c] Tax rates from: "Paying at the Pump: Gasoline Taxes in America," Tax Foundation,
          October 2007, No. 56, p. 9; "Diesel Taxes," American Petroleum Institute, January 2008;
          "Diesel Taxes," American Petroleum Institute, April 2009; "State Motor Fuel Excise and
          Other Taxes," April 13, 2011.
          [d] "2004 State Totals," Louisiana State University AgCenter, available at
          http://www.lsuagcenter.com/agsummary/archive/2004/-State-Totals/2004StateTotals.pdf;
          "2005 State Totals," Louisiana State University AgCenter, available at
          http://www.lsuagcenter.com/agsummary/archive/2005/-State-Totals/2005StateTotals.pdf;
          "2008 State Totals," Louisiana State University AgCenter, available at
          http://www.lsuagcenter.com/agsummary/archive/2008/-State-Totals/2008StateTotals.pdf;
          "2009 State Totals," Louisiana State University AgCenter, available at
          http://www.lsuagcenter.com/agsummary/archive/2009/-State-Totals/2009StateTotals.pdf;
          "2010 State Totals," Louisiana State University AgCenter, available at
          http://www.lsuagcenter.com/agsummary/archive/2010/-State-Totals/2010StateTotals.pdf;
          "2011 State Totals," Louisiana State University AgCenter, available at
          http://www.lsuagcenter.com/agsummary/archive/2011/-State-Totals/2011StateTotals.pdf.
          [e] "Consumer Price Index, All Urban Consumers - (CPI-U)," U.S. Department of Labor,
          Bureau of Labor Statistics, available at ftp://ftp.bls.gov/pub/special.requests/cpi/cpiai.txt.
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                                                                                                     Exhibit 9
                                                                  Gulf Red Snapper, Grouper, and Tilefish IFQ Allocation and Share Transfers:1,a,b
                                                                                        AL, LA MS, Western FL, and TX

                                                    2007             2008          2009          2010                                                     2007          2008          2009          2010
             2,c                                                                                                                                2,e
Red Snapper                                                                                                    Other Shallow Water Grouper
                                              3,d
  Total Value of Gulf Landings (MM $)                  $9.81             $8.24        $7.98        $10.34        Total Value of Gulf Landings (MM $)3,d      $1.44         $1.29         $1.10         $0.74
                                        3,d
  Total Gulf Landings (MM lbs.)                            3.08             2.46          2.50          3.32     Total Gulf Landings (MM lbs.)3,d                0.47          0.41          0.34          0.22
  Imputed Price (Landings, $/lb.)3,d                   $3.18             $3.35        $3.19         $3.11        Imputed Price (Landings, $/lb.)3,d          $3.07         $3.17         $3.24         $3.43
  Average Allocation Price ($/lb.)4,c                  $1.79             $2.21        $2.63         $2.76        Average Allocation Price ($/lb.)4,e                                                   $0.97
  Total Traded (MM lbs.)5,c                                1.67             1.36          1.49          3.06     Total Traded (MM lbs.)5,e                                                                 0.32
                                    5
  Trades as Percent of Quota                          56.1%             59.1%         64.8%        96.0%         Trades as Percent of Quota5                                                          76.8%
  Allocation Transfersc                                    942              777           942       1,718        Allocation Transferse                                                                     616
                          4,c
  Trades with Price (%)                               25.0%             24.0%         35.0%        22.0%         Trades with Price (%)4,e                                                             18.2%
  Average Quota Price ($/lb. equiv.)6,c                $6.74            $10.23       $15.17        $16.81        Average Quota Price ($/lb. equiv.)6,e                                                 $4.01
                          7
  Implied Discount Rate                               26.6%             21.6%         17.3%        16.4%         Implied Discount Rate7                                                               24.2%
Deep Water Grouper2,e                                                                                          Red Grouper2,e
                                              3,d
  Total Value of Gulf Landings (MM $)                  $4.07             $4.18        $3.71         $2.15        Total Value of Gulf Landings (MM $)3,d     $11.02        $13.86        $10.43         $8.95
                                        3,d
  Total Gulf Landings (MM lbs.)                            1.36             1.39          1.33          0.71     Total Gulf Landings (MM lbs.)3,d                4.36          5.74          4.36          3.47
                                        3,d                                                                                                        3,d
  Imputed Price (Landings, $/lb.)                      $2.98             $3.01        $2.79         $3.03        Imputed Price (Landings, $/lb.)             $2.53         $2.42         $2.39         $2.58
  Average Allocation Price ($/lb.)4,e                                                               $1.09        Average Allocation Price ($/lb.)4,e                                                   $0.69
  Total Traded (MM lbs.)5,e                                                                             1.03     Total Traded (MM lbs.)5,e                                                                 3.22
                                    5
  Trades as Percent of Quota                                                                      100.7%         Trades as Percent of Quota5                                                          55.9%
  Allocation Transferse                                                                                 490      Allocation Transferse                                                                 1,065
                          4,e
  Trades with Price (%)                                                                            19.0%         Trades with Price (%)4,e                                                             24.1%
  Average Quota Price ($/lb. equiv.)6,e                                                             $4.89        Average Quota Price ($/lb. equiv.)6,e                                                 $3.59
                          7
  Implied Discount Rate                                                                            22.3%         Implied Discount Rate7                                                               19.2%
Gag Grouper2,e                                                                                                 Tilefish2,e
                                              3,d
  Total Value of Gulf Landings (MM $)                  $4.42             $5.13        $2.81         $2.11        Total Value of Gulf Landings (MM $)3,d      $0.15         $0.20         $0.13         $0.04
                                        3,d
  Total Gulf Landings (MM lbs.)                            1.37             1.55          0.84          0.58     Total Gulf Landings (MM lbs.)3,d                0.16          0.22          0.14          0.03
  Imputed Price (Landings, $/lb.)3,d                   $3.23             $3.32        $3.33         $3.62        Imputed Price (Landings, $/lb.)3,d          $0.95         $0.91         $0.91         $1.20
  Average Allocation Price ($/lb.)4,e                                                               $0.95        Average Allocation Price ($/lb.)4,e                                                   $0.67
                              5,e
  Total Traded (MM lbs.)                                                                                0.74     Total Traded (MM lbs.)5,e                                                                 0.49
  Trades as Percent of Quota5                                                                      52.7%         Trades as Percent of Quota5                                                         111.3%
  Allocation Transferse                                                                                 945      Allocation Transferse                                                                     268
  Trades with Price (%)4,e                                                                         23.7%         Trades with Price (%)4,e                                                             16.4%
  Average Quota Price ($/lb. equiv.)6,e                                                             $4.79        Average Quota Price ($/lb. equiv.)6,e                                                 $2.45
                        7
  Implied Discount Rate                                                                            19.8%         Implied Discount Rate7                                                               27.3%
                                   Case 2:10-md-02179-CJB-DPC Document 7114-19 Filed 08/13/12 Page 76 of 76


                                                                                                   Exhibit 9
                                                                                               Notes and Sources

Notes:
[1] The number of shares a fisher owns represents the percentage of each year's quota he owns the "rights" to catch. The "Quota Prices" displayed are transaction prices for permanently transferring the "right"
to catch one pound equivalent of the quota fish each year. The total pounds each one percent share represents change with each year's quota. Shareholders requiring additional catch allocation in a year, as well
as non-shareholders who desire to possess, land, and sell fish in a year, may purchase a portion of another entity's allocation for that year. The IFQ program applies to the Gulf of Mexico Exclusive Economic
Zone which includes all of Texas and the west coast of Florida.
[2] The Individual Fishing Quota (IFQ) program for Red Snapper was implemented in 2007, whereas the Grouper and Tilefish program was not implemented until 2010.
[3] Landings data include all of Texas and the remaining class geographies.
[4] Data reflect only trades with reasonable prices. Trades with prices greater than $0.01 or less than or equal to $5.50 are considered reasonable by the National Marine Fisheries Service.
[5] Multiple transactions of a single allocation were not tracked separately.
[6] "Average Quota Price" is the average price of transferring one pound-equivalent of a fisher's share ownership. The "Gulf of Mexico 2010 Red Snapper Individual Fishing Quota Annual Report" and "2010
Gulf of Mexico Grouper-Tilefish Individual Fishing Quota Annual Report" refer to this as a "Share Price." The prices reflect only share transfers with reasonable prices. Transfers with prices greater than $0.01
or less than or equal to $30 are considered reasonable by the National Marine Fisheries Service.
[7] "Implied Discount Rate" is calculated as the "Average Allocation Price" divided by the "Average Quota Price."
[8] Each year's annual report is not released until fall of the following year, so 2011 data are not yet available.

Sources:
[a] "Individual fishing quota (IFQ) program for Gulf groupers and tilefishes," Code of Federal Regulations Title 50, Pt. 622.20(a)(1), 2010.
[b] "EEZ Waters of United States, Gulf of Mexico," The Pew Charitable Trusts, Sea Around Us Project, available at http://www.seaaroundus.org/eez/852.aspx.
[c] "Gulf of Mexico 2010 Red Snapper Individual Fishing Quota Annual Report," NOAA, October 28, 2011, pp. 11-12 and 17.
[d] NOAA ALS county-level data.
[e] "2010 Gulf of Mexico Grouper-Tilefish Individual Fishing Quota Annual Report," NOAA, December 13, 2011, pp. 7 and 14.
